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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION                                                                ENTERED
                                                                                                                     10/09/2020
                                                                      )
    In re:                                                            )   Chapter 11
                                                                      )
    STAGE STORES, INC., et al.,1                                      )   Case No. 20-32564 (DRJ)
                                                                      )
                              Debtors.                                )   (Jointly Administered)
                                                                      )
                                                                      )   Re: Docket No. 829

                                 ORDER (I) APPROVING
                         THE PRIVATE SALES OF ASSETS FREE AND
                        CLEAR OF LIENS, CLAIMS, ENCUMBRANCES,
                    AND INTERESTS AND (II) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”) of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”): (a) approving the sale of all of

Debtors’ right, title, and interest in and to certain Acquired Assets2 free and clear of all liens,

claims, encumbrances, leases, tenancies, and other interests for total consideration of $7 million in

cash (the “Sale”) pursuant to that certain sale agreement (the “Purchase Agreement”) by and

between Stage Stores, Inc. (the “Seller”) and Burke’s DC TX, LLC (together with its designated

affiliates, collectively, the “Purchaser”), attached hereto as Exhibit 1 and (b) granting related

relief, all as more fully set forth in the Motion; and this Court having jurisdiction over this matter

pursuant to 28 U.S.C. § 1334; and this Court having found that this is a core proceeding pursuant

to 28 U.S.C. § 157(b)(2); and this Court having found that it may enter a final order consistent

with Article III of the United States Constitution; and this Court having found that venue of this



1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Stage Stores, Inc. (6900) and Specialty Retailers, Inc. (1900). The Debtors’ service address is:
      2425 West Loop South, Houston, Texas 77027.

2      Capitalized terms used and not defined herein have the meanings ascribed to them in the Purchase Agreement.
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proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

this Court having found that the relief requested in the Motion is in the best interests of the Debtors’

estates, their creditors, and other parties in interest; and this Court having found that the Debtors’

notice of the Motion and opportunity for a hearing on the Motion were appropriate and no other

notice need be provided; and this Court having reviewed the Motion and having heard the

statements in support of the relief requested therein at a hearing before this Court (the “Hearing”)

and in the Crowley Declaration and the Graiser Declaration (both as defined in the Motion); and

this Court having determined that the legal and factual bases set forth in the Motion and at the

Hearing establish just cause for the relief granted herein; and upon all of the proceedings had

before this Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY:

        FOUND AND DETERMINED THAT:3

        A.       The Debtors have articulated good and sufficient reason for this Court to grant the

relief requested in the Motion, specifically, without limitation, entry into the Purchase Agreement.

        B.       The Debtors have articulated good and sufficient reason for this Court to ratify

the Sale.

        C.       To the extent any inconsistency arises between this Order and the Purchase

Agreement, this Order shall control.

        D.       Under the facts and circumstances of these cases, the purchase price (the “Purchase

Price”) for the Acquired Assets is fair and reasonable.

        E.       Under the facts and circumstances of these cases, the sale procedures described in

the Motion are appropriate.



3   Findings of fact shall be construed as conclusions of law and conclusions of law shall be construed as findings
    of fact where appropriate. See Fed. R. Bankr. P. 7052.




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       F.      The Purchaser is a purchaser in good faith with respect to the Purchase Agreement,

as that term is used in section 363(m) on the Bankruptcy Code and, as such, are entitled to the

protections offered thereby.

       G.      The Purchaser is not the mere continuation of, or successor to, the Debtors in any

respect, and there is no continuity of enterprise between the Debtors or the Purchaser. Neither the

Purchaser nor any of its Affiliates is a successor to or a mere continuation or substantial

continuation of the Debtors or their estates, and there is no continuity of enterprise or common

identity between the Purchaser (or any of its Affiliates) and the Debtors. Neither the Purchaser nor

its Affiliates is holding itself out to the public as a successor to or a continuation of the Debtors or

their estates. The Purchaser and its Affiliates are not, and shall not be, considered a successor in

interest to any of the Debtors or their estates, by reason of any theory of law or equity, and the Sale

does not amount to a consolidation, succession, merger, or de facto merger of the Purchaser and

the Debtors. Immediately prior to the Closing Date, the Purchaser was not an “insider” or

“affiliate” of the Debtors, as those terms are defined in the Bankruptcy Code, and no common

identity of incorporators, directors, or controlling stockholders existed between the Debtors and

the Purchaser. The transfer of the Acquired Assets to the Purchaser, and the assumption of the

Assumed Liabilities, does not, and will not, subject the Purchaser or its Affiliates to any liability

whatsoever, with respect to the Debtors or the operation of the Debtors’ businesses prior to the

closing of the Sale or by reason of such transfer, including under the laws of the United States, any

state, territory, or possession thereof, or the District of Columbia, or any foreign jurisdiction,

based, in whole or in part, directly or indirectly, on any, or any theory of, successor, vicarious,

antitrust, environmental, fraudulent transfer or avoidance, revenue, pension, ERISA, tax, labor

(including any WARN Act), employment or benefits, de facto merger, business continuation,




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substantial continuity, alter ego, derivative, transferee, veil piercing, escheat, continuity of

enterprise, mere continuation, product line, or products liability or law, or other applicable law,

rule, or regulation (including filing requirements under any such law, rule, or regulation), or theory

of liability, whether legal, equitable, or otherwise (collectively, the “Successor or Other

Liabilities”). Pursuant to the Purchase Agreement, the Purchaser is not purchasing all of the

Debtors’ assets in that the Purchaser is not purchasing any of the Excluded Assets nor assuming

the Excluded Liabilities and the Purchaser shall have no liability for the Excluded Liabilities.

        H.      The consideration provided by the Purchaser pursuant to the Purchase Agreement

(i) is fair and adequate, (ii) is the highest or otherwise best offer for the Acquired Assets, (iii) will

provide a greater recovery for the Debtors’ estates than would be provided by any other available

alternative, and (iv) constitutes reasonably equivalent value (as those terms are defined in each of

the Uniform Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act, and Section 548 of

the Bankruptcy Code) and fair consideration under the Bankruptcy Code and under the laws of the

United States, any state, territory, possession, or the District of Columbia. No other person, entity,

or group of entities has offered to purchase the Acquired Assets for greater overall value to the

Debtors’ estates than the Purchaser.

        I.      No consents or approvals, other than those expressly provided for in the Purchase

Agreement, are required for the Debtors to consummate the Sale, implement the Purchase

Agreement, or consummate the transactions contemplated thereby.

        J.      The Debtors have valid and legal title to the Acquired Assets. The transfer of the

Acquired Assets to the Purchaser will be, as of the Closing Date (as defined in the Purchase

Agreement), a legal, valid, and effective transfer of the Acquired Assets, which transfer vests or

will vest the Purchaser with all right, title, and interest to the Acquired Assets free and clear of all




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Encumbrances (as defined in the Purchase Agreement), subject only to the Permitted

Encumbrances solely as to the Owned Real Estate.

        K.      Approval of the Motion and the Purchase Agreement and the consummation of the

transactions contemplated thereby are in the best interests of the Debtors’ chapter 11 estates (taken

as a whole), their creditors, and other parties in interest.

        L.      All the requirements of sections 363 of the Bankruptcy Code have been met with

respect to the sale of the Acquired Assets; and therefore, the Debtors may sell the Acquired Assets

free and clear of any Encumbrances.

        M.      The Debtors’ privacy policies with respect to personally identifiable information

provide that such information may be transferred pursuant to a proposed or actual sale (including

as part of insolvency or bankruptcy proceedings, financing, merger or any other change of control

or ownership of debtors or any of their assets or divisions). Accordingly, the sale or transfer of

any Acquired Assets constituting personally identifiable information is consistent with such

policies, and therefore section 363(b)(1) of the Bankruptcy Code is satisfied.

        N.      The Purchaser would not have entered into the Purchase Agreement and would not

consummate the transactions contemplated thereby if the Sale of the Acquired Assets to the

Purchaser, were not free and clear of all Encumbrances of any kind or nature whatsoever, subject

only to the Permitted Encumbrances solely as to the Owned Real Estate or if the Purchaser would,

or in the future could, be liable for any such Encumbrances or Successor or Other Liabilities.

        O.      The Purchase Agreement is an arm’s-length, negotiated transaction between

unrelated parties, in which the Purchaser has at all times acted in good faith. There has been no

collusion or conduct that would cause or permit the Purchase Agreement to be avoided under

Section 363(n) of the Bankruptcy Code.




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       P.     To maximize the value of the Acquired Assets, it is essential that the Sale occur

within the time constraints set forth in the Purchase Agreement. Time is of the essence in

consummating the Sale.

       Q.     Given all of the circumstances of these chapter 11 cases and the adequacy and fair

value of the Purchase Price under the Purchase Agreement, the proposed Sale constitutes a

reasonable and sound exercise of the Debtors’ business judgment and should be approved.

       NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

       1.     The Motion is granted.

       2.     The Sale is hereby approved.

       3.     All objections to the Motion or the relief requested therein that have not been

withdrawn, waived, settled by announcement or ruled upon by the Court during the Sale Hearing,

including any and all reservations of rights included in such objections or otherwise, are hereby

denied and overruled on the merits with prejudice. Those parties who did not object or withdrew

their objections to the Motion are deemed to have consented to the sale pursuant to Section

363(f)(2) of the Bankruptcy Code.

       4.     The Purchase Agreement and all other documents ancillary thereto, and all of the

terms and conditions thereof, are hereby approved, and the Debtors and Purchaser are authorized

and directed to take any and all actions necessary or appropriate to effectuate the terms of this

Order and consummate the transactions contemplated by the Purchase Agreement, including any

actions that otherwise would require further approval by shareholders, members, or the Debtors’

board of directors or board of managers, as the case may be, with respect to the Debtors, without

the need of obtaining such approvals.




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       5.      Pursuant to Sections 105(a) and 363 of the Bankruptcy Code, the transfer of the

Acquired Assets to the Purchaser on the Closing Date shall (a) constitute a legal, valid, binding,

and effective transfer of the Acquired Assets, (b) vest the Purchaser with full and legal title to the

Acquired Assets, and (c) upon the Debtors’ receipt of the Purchase Price, be free and clear of all

Encumbrances (other than the Assumed Liabilities) and subject only to the Permitted

Encumbrances solely with respect to the Owned Real Estate, with such Encumbrances to attach to

the proceeds of the Sale in the order of their priority, with the same validity, force, and effect which

they now have as against the Acquired Assets. Upon the closing of the Sale, the Purchaser shall

take title to and possession of the Acquired Assets subject only to the Assumed Liabilities and

with respect to the Owned Real Estate, subject only to the Permitted Encumbrances.

       6.      Pursuant to section 363(m) of the Bankruptcy Code, the Purchaser shall be, and

hereby is, deemed to have purchased the Acquired Assets in good faith, and, accordingly, the

reversal or modification on appeal of the authorization provided herein to consummate the Sale

shall not affect the validity of the sale, unless such authorization and such sale are duly stayed

pending such appeal

       7.      Subject to the terms, conditions, and provisions of this Order and the Purchase

Agreement, all entities that are in possession of some or all of the Acquired Assets on the Closing

Date are directed to surrender possession of such Acquired Assets to the Purchaser or its assignee

on the Closing Date.

       8.      None of the Purchaser or any of its Affiliates is a “successor” to, continuation of,

or alter ego of, any of the Debtors or their estates by reason of any theory of law or equity. The

Purchasers and their Affiliates shall not have, assume, or be deemed to have assumed, or in any




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way be responsible for, any Successor or Other Liabilities of any of the Debtors or their estates, or

any of the Debtors’ predecessors or Affiliates with respect to the Acquired Assets or otherwise.

        9.      Except for the Assumed Liabilities, the Purchaser shall not have any liability or

other obligation of the Debtors arising under or related to any of the Acquired Assets, and all

persons and entities, including, but not limited to, all debt security holders, equity security holders,

governmental, tax and regulatory authorities, lenders, trade creditors, litigation claimants, and

other creditors, holding Encumbrances or other interests of any kind or nature whatsoever against

or in all or any portion of the Acquired Assets (whether legal or equitable, secured or unsecured,

matured or unmatured, contingent or non-contingent, liquidated or unliquidated, senior or

subordinate), arising under or out of, in connection with, or in any way relating to the Debtors, the

operation of the Debtors’ business prior to the Closing Date, or the transfer of the Acquired Assets

to the Purchaser, hereby are forever barred, estopped, and permanently enjoined from asserting

against the Purchaser, any of its affiliates, any of the foregoing’s successors, assigns, or properties,

or the Acquired Assets, such persons’ or entities’ Encumbrances or any other interests in and to

the Acquired Assets, including, without limitation, the following actions: (a) commencing or

continuing in any manner any action or other proceeding against the Purchaser, any of its affiliates

or any of the foregoing’s successors, assigns, or properties, or the Acquired Assets; (b) enforcing,

attaching, collecting, or recovering in any manner any judgment, award, decree, or order against

the Purchaser, any of its affiliates or any of the foregoing’s successors, assigns, or properties, or

the Acquired Assets; (c) creating, perfecting, or enforcing any Encumbrances against the

Purchaser, any of its affiliates or any of the foregoing’s successors, assigns, or properties, or the

Acquired Assets; (d) asserting any setoff, right of subrogation or recoupment of any kind against

any obligation due the Purchaser, any of its affiliates, or any of the foregoing’s successors, assigns,




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or properties or the Acquired Assets; (e) commencing or continuing any action, in any manner or

place, that does not comply with or is inconsistent with the provisions of this Order, other orders

of the Court, or the Purchase Agreement or actions contemplated or taken in respect thereof; or (f)

revoking, terminating, or failing or refusing to transfer or renew any license, permit, or

authorization to operate any of the Acquired Assets or conduct any of the businesses operated with

the Acquired Assets.

        10.     On the Closing Date, this Order shall be construed and shall constitute for any and

all purposes a full and complete general assignment, conveyance, and transfer of the Debtors’

interests in the Acquired Assets. This Order is and shall be effective as a determination that, on

the Closing Date, all Encumbrances and any other interest of any kind or nature whatsoever

existing as to the Acquired Assets prior to the Closing Date, other than the Assumed Liabilities,

and with respect to the Owned Real Estate only, the Permitted Encumbrances, shall have been

unconditionally released, discharged, and terminated, and that the conveyances described herein

and in the Purchase Agreement have been effectuated.

        11.     Each and every federal, state, and local governmental agency or department is

hereby directed to accept this Order and any and all other documents and instruments necessary

and appropriate to consummate the Purchase Agreement.

        12.     This Order shall be binding upon and shall govern the acts of all entities, including,

without limitation, all filing officers, title companies, recorders of mortgages, recorders of deeds,

registrars of deeds, administrative agencies, governmental departments, secretaries of state,

federal, state, and local officials, and all other persons and entities who may be required by

operation of law, the duties of their office, or contract, to accept, file, register, or otherwise record

or release any documents or instruments, or who may be required to report or insure any title or




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state of title in or to the Acquired Assets. In particular, any applicable clerk’s or recorder’s offices

are authorized to discharge any Encumbrances of record encumbering the Acquired Assets as of

the Closing Date; alternatively, the Purchaser is hereby authorized to (i) execute a release for any

Encumbrance of which the Acquired Assets are to be transferred free and clear or (ii) seek in the

Court, or any other court of appropriate jurisdiction, to compel the appropriate parties to execute,

file, and/or deliver termination statements, instruments of satisfaction, releases, and/or other

similar documents with respect to all Encumbrances that such person has against or in the Acquired

Assets. A certified copy of this Order may be filed with the appropriate clerk and/or recorded with

the recorder of any state, county, or local authority to act to cancel any of the Encumbrances of

record. Notwithstanding the foregoing, the provisions of this Order authorizing the sale and

assignment of the Acquired Assets free and clear of Encumbrances shall be self-executing, and

neither the Debtors nor the Purchaser shall be required to execute or file releases, termination

statements, assignments, consents, or other instruments or documents in order to effectuate,

consummate, and implement the provisions of this Order.

       13.     This Order and the terms and provisions of the Purchase Agreement and all

documents ancillary thereto shall be binding on all of the Debtors’ creditors (whether known or

unknown) and equity-holders, the Debtors, each respective landlord, and their respective affiliates,

successors, and assigns, and any affected third parties, including other fiduciaries appointed in the

Debtors’ chapter 11 cases or on a chapter 7 trustee upon a conversion of one or more of the chapter

11 cases to a case under chapter 7 of the Bankruptcy Code. The Purchase Agreement and any

documents ancillary thereto shall not be subject to rejection or avoidance under any circumstances.

Nothing contained in any plan of reorganization or liquidation, or order of any type or kind entered

in (a) these chapter 11 cases, (b) any subsequent chapter 7 case into which one or more of these




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chapter 11 cases may be converted, or (c) any related proceeding subsequent to entry of this Order,

shall conflict with or derogate from the provisions of the Purchase Agreement or the terms of this

Order.

         14.   The Purchase Agreement and all documents ancillary thereto may be modified,

amended, or supplemented by the parties thereto in a writing signed by the parties, in accordance

with the terms thereof, without further order of the Court; provided that any such modification,

amendment, or supplement does not have a material adverse effect on the Debtors’ estates.

         15.   No bulk sales law or any similar law of any state or other jurisdiction applies in any

way to the Sale.

         16.   The failure to specifically include any particular provision of the Purchase

Agreement in this Order shall not diminish or impair the effectiveness of such provision, it being

the intent of the Court that the Purchase Agreement be authorized and approved in its entirety. All

of the provisions of this Order are non-severable and mutually dependent.

         17.   Notwithstanding anything to the contrary in the Purchase Agreement or this Order,

neither the Debtors nor the Purchaser may terminate the Purchase Agreement after the date that

the Court enters this Order other than in accordance with Section 8.1 of the Purchase Agreement.

In the event that the Purchase Agreement may be duly terminated by a party pursuant to Section

8.1 of the Purchase Agreement, the due termination of the Purchase Agreement, shall not be stayed

or otherwise precluded by the provisions of the Bankruptcy Code, including section 362 of the

Bankruptcy Code.

         18.   Purchaser shall use and process all personally identifiable information constituting

Customer Data in accordance with the Debtors’ existing privacy policies, provided however,

Purchaser may modify its privacy policies and processing of personally identifiable data from time




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to time as long as Purchaser gives advance notice to affected customers of any changes to its

privacy policy and an opportunity to opt out of any new uses of such data.

       19.     Unless otherwise agreed to by Comenity Bank f/k/a World Financial Network

National Bank (“Comenity”) in a separate written agreement, the private label credit cards offered

by Comenity to qualifying customers of the Debtors pursuant to that certain Amended and Restated

Private Label Credit Card Plan Agreement by and between Comenity, Stage Stores, Inc., and

Specialty Retailers, Inc. dated as of August 8, 2012 (as amended and modified from time to time,

the “Plan Agreement”) shall immediately cease being accepted for the purchase or return of any

merchandise or inventory immediately upon the Closing Date of the sale. Additionally, Purchaser

shall permit Comenity to continue the use (on a non-exclusive, non-transferable and non-

sublicensable basis) of the following Debtors’ trademarks and service marks: Steele’s, Stage,

Goody’s, Peebles, Palais Royal, Bealls (collectively, the “Marks”) under the same restrictions and

quality guidelines benefitting the Sellers (and Purchaser as successor in interest to the Acquired

Assets, and its successors and assignees) as set forth in the Plan Agreement (including as set forth

in Section 4.1(b)) for the sole purpose of administering the collection of private label credit card

accounts created under such Plan Agreement for a period of six (6) months after the entry of this

Order (consistent with the terms of the Plan Agreement); provided, however, that after such six

(6) month period and subject to all the other terms herein, Comenity shall be permitted to continue

the use of un-stylized names of the Marks solely in order to process, service, and collect any

remaining balances on the private label open-ended credit card accounts until such time as the

accounts are fully processed, collected and closed. For the avoidance of doubt, Comenity

acknowledges that after the closing of the sale of the Acquired Assets to Purchaser as contemplated

herein, Purchaser (and its successors and assigns) shall be the sole owner(s) of the Marks, that




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Comenity has no rights of ownership or license therein (except for the limited license set forth in

this paragraph), and that Comenity is not entitled to (and shall not) use the Marks for any purpose

other than as set forth expressly in this paragraph. Purchaser (and its successors and assigns) shall

have the right, in its sole and absolute discretion, to prohibit the use of any Marks in any documents

or other materials or references proposed to be used by Comenity for the limited purpose permitted

herein that Purchaser (and its successors and assigns) deem objectionable or improper. All

goodwill associated with use of the Marks by Comenity will inure to the benefit of Purchaser. The

Marks shall be licensed by Purchaser ‘as-is’ and without any warranties or guarantees, either

express or implied. Comenity, and not Purchaser, shall be solely liable and responsible for the use

of such Marks in connection with such limited purpose.

       20.     This Order shall constitute the findings of fact and conclusions of law and shall take

immediate effect upon execution hereof.

       21.     To the extent this Order is inconsistent with any prior order or pleading with respect

to the Motion in these chapter 11 cases, the terms of this Order shall govern.

       22.     Notice of the Motion satisfies the requirements of Bankruptcy Rule 6004(a) and the

Bankruptcy Local Rules are satisfied by such notice.

       23.     Notwithstanding Bankruptcy Rule 6004(h), 7062 or otherwise, the terms and

conditions of this Order are immediately effective and enforceable upon its entry.

       24.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion

       25.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.


    Signed: October 09, 2020.

                                                   ____________________________________
                                                   DAVID R. JONES
                                                   UNITED STATES BANKRUPTCY JUDGE
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                             Exhibit 1

                        Purchase Agreement
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                                                        EXECUTION VERSION




______________________________________________________________________________

                       ASSET PURCHASE AGREEMENT

                       DATED AS OF OCTOBER 4, 2020

                              BY AND AMONG

                                BEALLS, INC.,

                            BURKE’S DC TX, LLC,

                            STAGE STORES, INC.

                                    AND

                        SPECIALTY RETAILERS, INC.

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                               ASSET PURCHASE AGREEMENT

        This ASSET PURCHASE AGREEMENT (this “Agreement”), dated as of October 4,
2020, by and among Burke’s DC TX, LLC, a Florida limited liability company (“Purchaser”),
Stage Stores, Inc., a Nevada corporation (the “Company”), and its Subsidiary, Specialty Retailers,
Inc., a Texas corporation (together with the Company, each a “Seller” and collectively “Sellers”),
and solely for purposes of Section 10.20, Bealls, Inc., a Florida corporation (“Parent”). Purchaser,
Sellers and Parent are referred to herein individually as a “Party” and collectively as the “Parties.”
Capitalized terms used in herein shall have the meanings set forth herein or in Article XI.

        WHEREAS, the Company and the other Seller filed voluntary petitions for relief under
chapter 11 of the United States Bankruptcy Code, 11 U.S.C. §§ 101-1532 (the
“Bankruptcy Code”), in the United States Bankruptcy Court for the Southern District of Texas,
Houston Division (the “Bankruptcy Court”), which chapter 11 cases will be jointly administered
for procedural purposes (collectively, the “Bankruptcy Case”);

        WHEREAS, Purchaser desires to purchase the Acquired Assets and assume the Assumed
Liabilities from Sellers, and Sellers desire to sell, convey, assign, and transfer to Purchaser the
Acquired Assets together with the Assumed Liabilities, in a sale authorized by the Bankruptcy
Court pursuant to, inter alia, sections 105 and 363 of the Bankruptcy Code, in accordance with the
other applicable provisions of the Bankruptcy Code and the Federal Rules of Bankruptcy
Procedure and the local rules for the Bankruptcy Court, all on the terms and subject to the
conditions set forth in this Agreement and subject to entry of the Sale Order; and

       WHEREAS on August 14, 2020, the Bankruptcy Court entered the Confirmation Order
confirming the Plan.

       NOW, THEREFORE, in consideration of the foregoing and the mutual representations,
warranties, covenants, and agreements set forth herein, and intending to be legally bound hereby,
Purchaser and Sellers hereby agree as follows.

                                             ARTICLE I

                   PURCHASE AND SALE OF THE ACQUIRED ASSETS;
                       ASSUMPTION OF ASSUMED LIABILITIES

        1.1     Purchase and Sale of the Acquired Assets. Pursuant to sections 105 and 363 of the
Bankruptcy Code, on the terms and subject to the conditions set forth herein and in the Sale Order,
at the Closing, Sellers shall sell, transfer, assign, convey, and deliver to Purchaser (or its designee),
and Purchaser (or its designee) shall purchase, acquire, and accept from Sellers, all right, title and
interest in and to the Acquired Assets, free and clear of all Encumbrances subject to Permitted
Encumbrances on the Owned Real Property. “Acquired Assets” means only the following assets
of Sellers (but excluding in all cases any Excluded Asset):

                      that certain real property located at 506 Beall Boulevard, Jacksonville, TX
and more particularly described on Schedule 1.1(a) and known as the Jacksonville DC Property
(the “Land”);
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                     all of Sellers’ right, title and interest in and to all streets, alleys, easements
and rights of way in, on, across, in front of, abutting or adjoining the Land and any other
appurtenances belonging thereto (collectively, the “Appurtenances”);

                      all improvements on the Land, including without limitation those certain
buildings located on the Land and the various facilities on the Land, and all other sidewalks,
canopies, access ways, signs, and other improvements thereon (collectively, the “Improvements”,
and together with the Appurtenances and the Land, the “Owned Real Property”);

                       all of Sellers’ right, title and interest in and to all intangible property rights
related to the Real Property (defined below), including and any and all Actions, warranties and
zoning approvals related to same (collectively, the “Intangible Personal Property”)

                      all right, title and interest in and to all tangible assets (including Equipment
and any Documentation related thereto or necessary for its operation, whether physical or stored
on the computer systems, data networks or servers of any Seller) of Sellers located at the Owned
Real Property, including, without limitation, the assets set forth on Schedule 1.1(e) (collectively,
the “Personal Property”);

                        to the extent transferable under applicable Law, all of the rights, interests
and benefits accruing under all Permits with respect to the Owned Real Property, and all pending
applications therefor; and

                        all Intellectual Property (and all goodwill associated therewith), all rights to
collect royalties and proceeds in connection therewith with respect to the period from and after the
Closing, all rights to sue and recover for past, present and future infringements, dilutions,
misappropriations of, or other conflicts with, such Intellectual Property and any and all
corresponding rights or Actions that, now or hereafter, may be secured throughout the world.

         1.2     Excluded Assets. Notwithstanding anything to the contrary in this Agreement, in
no event shall Sellers be deemed to sell, transfer, assign, or convey, and Sellers shall retain all
right, title and interest to, in and under any other assets of Sellers other than the Acquired Assets,
including the following assets, properties, interests and rights of such Seller (all such assets,
properties, interests and rights that are not Acquired Assets being referred to collectively herein,
collectively, the “Excluded Assets”):

                        all Cash and Cash Equivalents, all accounts receivable, all bank accounts,
and all deposits (including maintenance deposits, customer deposits, and security deposits for rent,
electricity, telephone or otherwise) or prepaid or deferred charges and expenses, including all lease
and rental payments, that have been prepaid by any Seller, and any retainers or similar amounts
paid to Advisors or other professional service providers;

                        all Contracts of Sellers;

                        all Documents other than those described in Section 1.1(e), including (i) to
the extent they relate to any of the Excluded Assets or Excluded Liabilities (including information
stored on the computer systems, data networks or servers of any Seller); (ii) that are Sellers’
financial accounting Documents, all minute books, organizational documents, stock registers and


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such other books and records of any Seller as pertaining to ownership, organization or existence
of such Seller, Tax Returns (and any related work papers) and any other Tax information or records
not directly related to the Owned Real Property), corporate seal, checkbooks, and canceled checks;
or (iii) that any Seller is required by Law to retain;

                        all Documents prepared or received by any Seller or any of its Affiliates in
connection with the sale of the Acquired Assets, this Agreement, or the transactions contemplated
hereby, including (i) all records and reports prepared or received by Sellers, any of their respective
Affiliates or Advisors in connection with the sale of the Acquired Assets and the transactions
contemplated hereby, including all analyses relating to the business of Purchaser or its Affiliates
so prepared or received, (ii) all bids and expressions of interest received from third parties with
respect to the acquisition of any of Sellers’ businesses or assets; and (iii) all privileged materials,
documents and records of a Seller or any of its Affiliates;

                       all current and prior insurance policies of any of Sellers, including for the
avoidance or doubt all director and officer insurance policies, and all rights and benefits of any
nature of Sellers with respect thereto, including all insurance recoveries thereunder and rights to
assert claims with respect to any such insurance recoveries;

                      all membership interests or other equity interests of any Seller or securities
convertible into, exchangeable, or exercisable for any such membership interests or other equity
interests;

                        (i) all preference or avoidance claims or actions arising under the
Bankruptcy Code or applicable Law, (ii) all other rights, claims, causes of action, rights of
recovery, rights of set-off, and rights of recoupment as of the Closing of any Seller, in each case,
arising out of or relating to events occurring on or prior to the Closing Date, and (iii) all claims
that any of Sellers may have against any Person with respect to any other Excluded Assets or any
Excluded Liabilities;

                       Sellers’ claims or other rights under this Agreement, including the Purchase
Price hereunder, or any agreement, certificate, instrument, or other document to which a Seller is
a party that is executed and delivered between any Seller and Purchaser in connection with the
transactions contemplated hereby;

                      all emails sent by or to any email addresses or accounts of Sellers on or prior
to the six-month anniversary of the Closing Date hosted on the “stage.com” or “stagestores.com”
domains;

                        all rights, data, records, documentation, or other information relating to
private-label credit cards;

                       all Tax refunds attributable to Pre-Closing Tax Periods or attributable to the
pre-Closing portion of a Proration Period, and all Tax attributes that are not transferred by the
operation of applicable Tax Law; and

                     all real estate and all interests in real estate other than the Owned Real
Property; all demands, allowances, refunds, rebates (including any vendor or supplier rebates),


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rights (including under or with respect to express or implied guarantees, warranties,
representations, covenants and indemnities), claims, counterclaims, defenses, credits, causes of
action, rights of set off, rights of recovery or rights of recoupment relating to or arising against
suppliers, vendors, merchants, manufacturers and counterparties to leases, licenses or any
Contract, arising out of or relating to events occurring on or prior to the Closing Date.

        1.3     Assumption of Certain Liabilities. On the terms and subject to the conditions set
forth herein and in the Sale Order, effective as of the Closing, in addition to the payment of the
Cash Payment in accordance with Section 2.1, Purchaser shall irrevocably assume from Sellers
(and from and after the Closing pay, perform, discharge, or otherwise satisfy in accordance with
their respective terms as Purchaser deems appropriate), and Sellers shall irrevocably convey,
transfer, and assign to Purchaser, only the following Liabilities, without duplication and only to
the extent not paid prior to the Closing (collectively, the “Assumed Liabilities”):

                       the portion of Transfer Taxes allocated to Purchaser pursuant to Section 9.1;
and

                       the Tax amounts allocated to Purchaser pursuant to Section 9.3(b).

        1.4    Excluded Liabilities. Except for the Assumed Liabilities, Purchaser shall not
assume, be obligated to pay, perform or otherwise discharge or in any other manner be liable or
responsible for any Liabilities of, or Action against, Sellers or their Affiliates, or arising from or
relating to the Acquired Assets, of any kind or nature whatsoever, whether absolute, accrued,
contingent or otherwise, liquidated or unliquidated, due or to become due, known or unknown,
currently existing or hereafter arising, matured or unmatured, direct or indirect, and however
arising, whether existing on the Closing Date or arising thereafter as a result of any act, omission,
conditions, or circumstances taking place on or prior to the Closing (all such Liabilities that are
not Assumed Liabilities being referred to collectively herein as the “Excluded Liabilities”). For
avoidance of doubt, “Excluded Liabilities” shall include, without limitation, the following
Liabilities:

                       all Liabilities arising as a result of the ownership of the Acquired Assets
and/or the use and operation of the Sellers’ businesses or properties and assets (tangible and
intangible), including nonperformance of any Contracts, on or prior to the Closing;

                     all Liabilities of a Seller for Taxes attributable to Pre-Closing Tax Periods
and the pre-Closing portion of a Proration Period (except as provided for in Sections 9.1 and
9.3(b));

                       all Liabilities of a Seller for borrowed money, all accounts and trade payable
on or prior to Closing, and any and all Actions against a Seller and their Advisors;

                       all Liabilities of a Seller under this Agreement or any Transaction
Document;

                       all Liabilities arising from or related to any Excluded Assets;




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                       gift cards, rewards points or loyalty rewards issued by a Seller or its
Affiliates;

                         all amounts due to employees, independent contractors or consultants of a
Seller or its Affiliates; and

                       any Employee Obligations.

                                          ARTICLE II

                          CONSIDERATION; PAYMENT; CLOSING

        2.1    Consideration; Payment.

                         The aggregate consideration (collectively, the “Purchase Price”) to be paid
by Purchaser for the purchase of the Acquired Assets shall be: (i) the assumption of Assumed
Liabilities and (ii) a cash payment of Seven Million and No/100 Dollars ($7,000,000) (the “Cash
Payment”).

                       At the Closing, Purchaser shall deliver, or cause to be delivered, to the
Company the Cash Payment less the Deposit (the “Closing Date Payment”). The Closing Date
Payment and any payment required to be made pursuant to any other provision hereof shall be
made in cash by wire transfer of immediately available funds to such bank account as shall be
designated in writing by the applicable Party to (or for the benefit of) whom such payment is to be
made at least two Business Days prior to the date such payment is to be made.

        2.2    Deposit.

                       Purchaser shall, on the next Business Day after the date hereof, make an
earnest money deposit with the Title Company (the “Escrow Agent”) in the amount of ten percent
(10%) of the Cash Payment (the “Deposit”), by wire transfer of immediately available funds for
deposit into a separate escrow account (the “Deposit Escrow Account”), established pursuant to
the escrow agreement, dated as of the date hereof, by and among the Company, Purchaser and the
Escrow Agent, substantially in the form attached hereto as Exhibit A (the “Escrow Agreement”).
The Deposit shall not be subject to any lien, attachment, trustee process, or any other judicial
process of any creditor of any of Sellers or Purchaser and shall be applied against payment of the
Cash Payment on the Closing Date.

                        If this Agreement has been terminated by the Company pursuant to Section
8.1(e), then the Company shall retain the Deposit together with all received investment income, if
any, as liquidated damages, and the retention thereof shall constitute the sole and exclusive remedy
of the Sellers in the event of such breach or termination.

                      If this Agreement has been terminated by any Party for any reason permitted
under this Agreement, other than as contemplated by Section 2.2(b), then the Deposit, together
with all received investment income, if any, shall be returned to Purchaser within three (3)
Business Days after such termination.



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                        The Parties agree that the Company’s right to retain the Deposit, as set forth
in Section 2.2(b), is not a penalty, but rather is liquidated damages in a reasonable amount that will
compensate Sellers for their respective efforts and resources expended and the opportunities
foregone while negotiating this Agreement and in reliance on this Agreement and on the
expectation of the consummation of the transactions contemplated hereby, which amount would
otherwise be impossible to calculate with precision.

                        If the Closing occurs, the Deposit shall be transferred to the Company.

         2.3     Closing. The closing of the purchase and sale of the Acquired Assets, the delivery
of the Cash Payment, the assumption of the Assumed Liabilities and the consummation of the
other transactions contemplated by this Agreement (the “Closing”) will take place by telephone
conference and electronic exchange of documents (or, if the Parties agree to hold a physical
closing, at the offices of Haynes and Boone LLP, located at 1221 McKinney Street, Suite 4000,
Houston, Texas 77010) at 8:00 a.m. Houston time on the second (2nd) Business Day following
full satisfaction or due waiver (by the Party entitled to the benefit of such condition) of the closing
conditions set forth in Article VII (other than conditions that by their terms or nature are to be
satisfied at the Closing, but subject to the satisfaction or waiver of those conditions), or at such
other place and time as the Parties may agree. The date on which the Closing actually occurs is
referred to herein as the “Closing Date.”

       2.4       Closing Deliveries by Sellers. At or prior to the Closing, Sellers shall deliver to
Purchaser:

                       a special warranty deed in the form of Exhibit B (the “Deed”) executed and
acknowledged by Seller and conveying to Purchaser (or its designee) title to the Owned Real
Property free and clear of all Encumbrances, subject only to the Permitted Encumbrances;

                        an Owner’s Affidavit in the form of Exhibit C with respect to the Owned
Real Property;

                       a bill of sale and assignment and assumption agreement in the form of
Exhibit D conveying the Personal Property, Intangible Personal Property, Permits and Intellectual
Property (as set forth more particularly in Section 1.1 hereto) to Purchaser (or its designee) free
and clear of all Encumbrances (the “Assignment and Assumption Agreement”), duly executed by
Sellers;

                      each IP Assignment Agreement in a form mutually acceptable to the Parties,
duly executed by the Sellers party thereto;

                        a copy of the Sale Order, as entered by the Bankruptcy Court;

                      a duly executed IRS Form W-9 with respect to each Seller (or, in the case
of any disregarded entity, the regarded parent entity of such Seller);

                     an executed certificate of non-foreign status from each Seller with respect
to the Owned Real Property in compliance with Treasury Regulations Section 1.1445-2;



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                       a key to access the Improvements shall be delivered to Purchaser or its
counsel (or any other representative agreed to by the Parties) on the Closing Date and all other
keys, security cards, access cards, passwords and codes necessary to access the Improvements,
will remain in the Improvements;

                        an officer’s certificate, dated as of the Closing Date, executed by a duly
authorized officer of the Sellers certifying that the conditions set forth in Sections 7.2(b) and 7.2(c)
have been satisfied;

                      with respect to the Social Media Accounts, each of Seller’s login credentials
for such accounts as may be reasonably necessary to transfer to Purchaser all administrative rights
to the Social Media Accounts;

                       the Customer Data pursuant to a process to be determined and agreed by the
Parties and applicable third party hosting providers prior to the Closing;

                       each other Transaction Document to which a Seller is a party, duly executed
by such Seller; and

                       a joint written instruction, duly executed by Sellers, instructing the Escrow
Agent to release to the Company by wire transfer of immediately available funds, the Deposit.

        2.5     Closing Deliveries by Purchaser. At the Closing, Purchaser shall deliver to (or at
the direction of) the Sellers:

                       the Closing Date Payment;

                       the Assignment and Assumption Agreement, duly executed by Purchaser;

                      an officer’s certificate, dated as of the Closing Date, executed by a duly
authorized officer of Purchaser certifying that the conditions set forth in Sections 7.3(a), 7.3(b)
and 7.3(c) have been satisfied;

                     each other Transaction Document to which Purchaser is a party, duly
executed by Purchaser; and

                    a joint written instruction, duly executed by Purchaser, instructing the
Escrow Agent to release to the Company by wire transfer of immediately available funds, the
Deposit.

        2.6    Withholding. Purchaser shall be entitled to deduct and withhold from any amounts
otherwise payable pursuant to this Agreement all Taxes that Purchaser is required to deduct and
withhold with respect to such payment under any provision of applicable Law, including to the
extent resulting from Seller’s failure to satisfy its obligations under Sections 2.4(f) and 2.4(g);
provided, however, that Purchaser shall provide three (3) Business Days’ notice prior to any such
deductions or withholding to give the Sellers an opportunity to provide additional information and
documentation available to show an exemption from such withholding.



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       2.7     Casualty and Condemnation.

                        The risk of loss of or damage to the Acquired Assets by reason of any
insured or uninsured casualty during the period up to and including the Closing Date shall be borne
solely by Sellers. If, during the period beginning on the date hereof and ending on the Closing
Date, any portion of the Acquired Assets (the “Loss Assets”), are damaged or destroyed, by fire
or other casualty, and the amount required to repair, restore, reconstruct or replace such Loss
Assets to the condition such Loss Assets were in prior to the fire or other casualty (the “Loss”)
exceeds $100,000 (as determined by Sellers’ insurance appraiser), then, at Purchaser’s election
made by written notice from Purchaser to Sellers sent by Purchaser within three (3) Business Days
after Purchaser’s receipt of Seller’s written notice of such casualty and determination of Sellers’
insurance appraiser (which may be made in Purchaser’s sole discretion), either (i) the Cash
Purchase Price shall be reduced by the amount of such Loss and Purchaser shall proceed with
Closing in accordance with this Agreement or (ii) the Purchaser shall have the unilateral right to
terminate this Agreement in its sole discretion. If the amount required to repair, restore, reconstruct
or replace such Loss Assets as aforesaid does not exceed $100,000, then Purchaser shall proceed
with Closing in accordance with this Agreement without any reduction in the Cash Purchase Price.
If Purchaser fails to provide the aforesaid written notice within the aforesaid three (3) Business
Day period, then Purchaser shall be deemed to have elected to proceed in accordance with
Subsection 2.7(a) above. For the avoidance of doubt, Purchaser shall not have any right, title or
interest in, or claim with respect to, any insurance proceeds due and payable to, or received by,
Seller as a result of any such Loss. If the Purchaser terminates this Agreement, then Purchaser
shall have no further action or actions, cause or causes of action, complaints, suits, debts,
judgments, claims and demands whatsoever against Seller, other than its right to the prompt return
of the Deposit within three (3) Business Days of such termination.

                       If, during the period beginning on the date hereof and ending on the Closing
Date, any portion of the Owned Real Property is taken by power of eminent domain or
condemnation, then by written notice from Purchaser to Seller sent by Purchaser within three (3)
Business Days after Purchaser’s receipt of Seller’s written notice of such taking, the Purchaser
shall have the unilateral right to terminate this Agreement. In the event Purchaser elects to
terminate this Agreement, the Deposit shall be returned to Purchaser within three (3) Business
Days of Purchaser’s election to so terminate. If Purchaser fails to provide the aforesaid written
notice within the aforesaid three (3) Business Day period, then Purchaser shall be deemed to have
waived its rights under this Section 2.7(b) and Purchaser shall proceed with Closing hereunder
without any reduction in the Cash Purchase Price. If the Purchaser terminates this Agreement,
then Purchaser shall have no further action or actions, cause or causes of action, complaints, suits,
debts, judgments, claims and demands whatsoever against Seller, other than its right to prompt
return of the Deposit within three (3) Business Days of such termination.

                                           ARTICLE III

                 REPRESENTATIONS AND WARRANTIES OF SELLERS

       Except as set forth in the Schedules delivered by the Company concurrently herewith, each
of the Sellers represent and warrant to Purchaser as follows as of the date hereof and as of the
Closing Date.


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        3.1      Organization and Qualification. Each Seller (a) is an entity duly incorporated or
organized, validly existing and in good standing under the Laws of the jurisdiction of its
incorporation or organization, as applicable, (b) has all requisite power and authority to own or
lease and operate its properties and to carry on its businesses as now conducted, subject to the
provisions of the Bankruptcy Code, and (c) is qualified to do business and is in good standing (or
its equivalent) in every jurisdiction in which its ownership of property or the conduct of its business
as now conducted requires it to qualify, except where the failure to be so qualified would not
reasonably be expected to have, individually or in the aggregate, a material adverse effect on the
Sellers’ ability to consummate the transactions contemplated hereby.

        3.2      Authorization of Agreement. The execution, delivery, and performance of this
Agreement and each other Transaction Document to which it is a party by such Seller, and the
consummation by such Seller of the transactions contemplated hereby and thereby have been duly
and validly authorized by all requisite corporate or similar organizational action, and no other
corporate or similar organizational proceedings on its part are necessary to authorize the execution,
delivery or performance of this Agreement and the other Transaction Documents to which it is a
party by such Seller, other than entry of the Sale Order to authorize the sale of the Acquired Assets
in accordance with this Agreement. This Agreement and the other Transaction Documents to
which it is a party has been or will be (as applicable) duly and validly executed and delivered by
such Seller, and, assuming this Agreement and the other Transaction Documents to which it is a
party is a valid and binding obligation of Purchaser and subject to the Bankruptcy Court’s entry of
the Sale Order to authorize the sale of the Acquired Assets in accordance with this Agreement, this
Agreement and the other Transaction Documents to which it is a party constitute valid and binding
obligations of such Seller, enforceable against such Seller in accordance with its and their
respective terms.

       3.3     Conflicts; Consents.

                         Except as set forth on Schedule 3.3(a) and assuming that (w) the Sale Order
is entered and (x) the notices, authorizations, approvals, Orders, permits or consents set forth on
Schedule 3.3(b) are made, given or obtained (as applicable), the execution, delivery and
performance by Sellers of this Agreement and the Transaction Documents to which they are a
party and the consummation by Sellers of the transactions contemplated hereby and thereby, do
not: (i) violate the certificate of formation, limited liability company agreement or equivalent
organizational documents of any Seller; (ii) violate any Law applicable to any Seller or by which
any property or asset of any Seller is bound; or (iii) result in any breach of, constitute a default (or
an event that, with notice or lapse of time or both, would become a default) under, create in any
party thereto the right to terminate or cancel, or require any consent under, or result in the creation
or imposition of any Encumbrance (other than a Permitted Encumbrance on the Owned Real
Property) on any Acquired Asset; except, in each case, for any such violations, breaches, defaults
or other occurrences that are not material to the transactions contemplated by this Agreement.

                      Except as set forth on Schedule 3.3(b), Sellers are not required to file, seek
or obtain any notice, authorization, approval, Order, permit, or consent of or with any
Governmental Body or other Person in connection with the execution, delivery and performance
by Sellers of this Agreement and the Transaction Documents to which they are a party or the
consummation by Sellers of the transactions contemplated hereby and thereby, except (i) for entry


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of the Sale Order, (ii) where failure to obtain such consent, approval, authorization of action, or to
make such filing or notification, is not material to the transactions contemplated by this
Agreement, or (iii) as may be necessary as a result of any facts or circumstances relating to
Purchaser or any of its Affiliates.

       3.4     Title to Properties.

                       Neither Seller has leased or otherwise granted to any Person rights to use or
occupy the Owned Real Property other than subject to the Permitted Encumbrances, and there are
no outstanding options, rights of first offer or rights of first refusal to purchase the Owned Real
Property. Neither Seller is a party to any agreement or option to purchase any real property or
interest therein. The Sellers have made available true correct, and complete copies of the deed,
and the Sellers have made available a copy of the existing title commitment and a copy of the
existing survey with respect to the Owned Real Property.

                        No Person other than Sellers has the right to occupy any portion of the
Owned Real Property. The Owned Real Property shall be delivered to Purchaser on the Closing
Date free of the right of any other Person to occupy or use such properties other than subject to the
Permitted Encumbrances.

                         The Sellers own indefeasible fee simple title to all of the Owned Real
Property, subject to Permitted Encumbrances, and good, valid and legal title to all the other
Acquired Assets. At the Closing, subject to the entry of the Sale Order to close the sale of the
Acquired Assets in accordance with this Agreement, the Sellers shall transfer indefeasible fee
simple title to the Owned Real Property, subject to Permitted Encumbrances, and good, valid and
legal title to all of the other Acquired Assets to Purchaser (or its designee), free and clear of all
Encumbrances, subject to Permitted Encumbrances on the Owned Real Property.

                     All of the Personal Property has been, and will continue to be, physically
located at the Owned Real Property from September 30, 2020 through the Closing Date.

                         To the Company’s Knowledge, there are no Contracts entered into by the
Sellers that relate to or affect the ownership or use of the Acquired Assets following the Closing.

                       Except as incurred in the Ordinary Course, there are no unpaid charges,
costs, or expenses for improvements to the Owned Real Property which are reasonably likely to
give rise to any mechanic’s or materialmen’s or other statutory liens.

                        To the Company’s Knowledge, all utilities (including water, sewer, gas,
electricity, trash removal, and telephone service) that are reasonably necessary for the Company’s
use of the Owned Real Property are available to and connected with the Owned Real Property in
sufficient quantities to adequately serve the same, except for any service interruptions or
disruptions in the ordinary course.

                       There are no actions pending or, to the Company’s Knowledge, threatened
in writing, in respect of the Owned Real Property that would materially and adversely alter the
current zoning classification of any portion of such property or alter any applicable legal
requirements that would adversely affect the use of such property by the Purchaser.


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        3.5    Insurance. Schedule 3.5 lists, as of the date hereof, each material insurance policy
maintained by the Sellers on their properties, assets, products, business or personnel with respect
to the Acquired Assets. With respect to each such insurance policy the policy is legal, valid,
binding, enforceable on the Sellers, as applicable, and in full force and effect, and all premiums
have been or will be paid prior to the due date covering all periods up to and including the date
hereof through the Outside Date, and no notice of cancellation, termination or denial of coverage
for any material claim has been received with respect to any such insurance policy.

         3.6    Litigation. Other than the Bankruptcy Case, there are, and during the prior two (2)
years there have been, no Actions pending or, to the Company’s Knowledge, threatened against or
by the Sellers with respect to the Acquired Assets, at law or in equity, or before or by any
Governmental Body, other than any Action that would not reasonably be expected to be material
to the transactions contemplated by this Agreement or affect Purchaser’s use or ownership of the
Acquired Assets following the Closing. Other than in connection with the Bankruptcy Case,
neither Seller is, or during the prior two (2) years has been, subject to any outstanding Order, with
respect to or otherwise affecting the Acquired Assets.

       3.7     Permits; Compliance with Laws.

                         Each Seller holds and is in compliance, in all material respects, with all
permits, certificates, licenses, approvals, registrations and authorizations that are material to the
ownership and operation of the Acquired Assets under applicable Laws (the “Permits”). All of the
Permits are valid, binding and in full force and effect.

                        The Sellers are, and have been during the prior two (2) years, in compliance,
in all material respects, with all applicable Laws with respect to or affecting the Acquired Assets,
and during the prior two (2) years neither Seller has received any written notice of any Action
against it or in rem with respect to or affecting the Acquired Assets alleging any failure to comply
in any material respect with any such Laws. No investigation by any Governmental Body with
respect to or affecting the Acquired Assets is pending or, to the Company’s Knowledge,
threatened, and during the prior two (2) years neither of the Sellers has received any written notice
of any such investigation.

       3.8    Environmental Matters. Except as set forth in the Executive Summary section of
the Phase I Environmental Site Assessment of the Property dated August 18, 2020, prepared by
Bureau Veritas (the “Phase I Assessment”):

                       With respect to the Acquired Assets, the Sellers are and for the prior three
(3) years have been in compliance in all material respects with all applicable Environmental Laws,
which compliance has for the past three (3) years included obtaining all permits, licenses and
authorizations required under applicable Environmental Laws that are material to the ownership
or operation of the Acquired Assets;

                       Neither Seller has during the prior two (2) years received written notice
from any Governmental Body regarding any actual or alleged material violation of or material
liability under Environmental Laws with respect to the Acquired Assets;




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                       No Hazardous Substance has been released on, at or from the Owned Real
Property by the Sellers in a manner that would reasonably be expected to result in a material
liability under any Environmental Law; and

                     The Sellers have made available to Purchaser copies of all material non-
privileged environmental audits, assessments and reports in its possession to the extent relating to
the Owned Real Property.

       3.9     Intellectual Property.

                        Schedule 3.9(a) sets forth a correct and complete list of all Intellectual
Property that is registered, filed or issued under the authority of any Governmental Body (including
Domain Names), and all applications for Intellectual Property filed with any Governmental Body,
in each case that is owned by the Sellers (collectively, “Company Intellectual Property”). Except
as set forth on Schedule 3.9(a), the Sellers own the Company Intellectual Property, free and clear
of all Encumbrances.

                      To the Knowledge of the Company, neither Seller’s respective businesses
infringe, misappropriate or otherwise violate any Intellectual Property of any other Person, except
where such infringement, misappropriation or violation is not material to the Sellers taken as a
whole.

                       To the Knowledge of the Company, no third party infringes,
misappropriates or otherwise violates any Intellectual Property owned by the Sellers, except where
such infringement, misappropriation or violation is not material to the Sellers taken as a whole.
The Sellers have used efforts that are reasonable under the circumstances to maintain the secrecy
of their material trade secrets, except where such failure to maintain such material trade secrets
would not be material to the Sellers taken as a whole.

                       To the Knowledge of the Company, all of the issued patents and registered
trademarks that constitute Company Intellectual Property are valid, subsisting and enforceable.
Except for office actions issued in the ordinary course of prosecution by the United States Patent
and Trademark Office or analogous foreign Governmental Body, during the prior two (2) years,
no claim by any third party contesting the validity or enforceability of any of the material Company
Intellectual Property has been made or has been threatened against any Seller, in each case in
writing.

                     This Section 3.9 contains the sole and exclusive representations and
warranties of the Company with respect to Intellectual Property.

        3.10 Data Security. The Sellers maintain commercially reasonable policies and
procedures regarding data privacy, protection and security designed to protect any personally
identifiable information from any individuals, including any customers, prospective customers,
employees and/or other third parties (collectively “Personal Information”) collected by it. To the
Knowledge of the Company, the Sellers and the conduct of their business are in material
compliance with, and at all times since December 31, 2017, have been in material compliance
with, all applicable Privacy Laws and their applicable published privacy policies. The transactions
contemplated by this Agreement (including the transfer of the Customer Data) will not result in a


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breach of the Sellers’ published privacy policies in effect as of the date hereof. This Section 3.10
contains the sole and exclusive representations and warranties of the Company with respect to data
privacy, protection, and security.

        3.11 Tax Matters. (a) All material Tax Returns required to be filed under applicable Law
by Sellers with respect to the Acquired Assets have been filed and such Tax Returns are complete
in all material respects, (b) all material Taxes payable by Sellers with respect to the Acquired
Assets (whether or not shown to be due on such Tax Returns) have been paid, except to the extent
nonpayment of which is permitted or required by the Bankruptcy Code, (c) no material claims
have been asserted in writing with respect to any such Taxes and (d) there are no Encumbrances
for Taxes (other than any Encumbrance for Taxes that is a Permitted Encumbrance on the Owned
Real Property) on any of the Acquired Assets. The representations and warranties in this Section
3.11 are the sole and exclusive representations and warranties of Sellers relating to Taxes. No
representation or warranty is made in this Agreement with respect to (i) the amount, sufficiency or
usability of any net operating loss, capital loss, Tax basis or other Tax attribute of any Seller, or
otherwise (ii) Taxes or the availability of any Tax position in any taxable period (or portion thereof)
beginning after the Closing Date.

        3.12 Brokers. Except as set forth on Schedule 3.12, all of whose fees and expenses will
be borne solely by Seller, there is no investment banker, broker, finder or other such intermediary
that has been retained by, or has been authorized to act on behalf of, any of the Sellers and is
entitled to a fee or commission in connection with the transactions contemplated by this Agreement
from any of the Sellers.

                                           ARTICLE IV

               REPRESENTATIONS AND WARRANTIES OF PURCHASER

        Purchaser represents and warrants to the Company as follows as of the date hereof and as
of the Closing Date.

        4.1    Organization and Qualification. Purchaser (a) is an entity duly incorporated or
organized, validly existing and in good standing under the Laws of the jurisdiction of its
incorporation or organization, as applicable, (b) has all requisite power and authority to own and
operate its properties and to carry on its businesses as now conducted, and (c) is qualified to do
business and is in good standing (or its equivalent) in every jurisdiction in which its ownership of
property or the conduct of its business as now conducted requires it to qualify, except where the
failure to be so qualified would not reasonably be expected to have, individually or in the
aggregate, a material adverse effect on Purchaser’s ability to consummate the transactions
contemplated hereby.

       4.2     Authorization of Agreement. The execution, delivery and performance of this
Agreement and the other Transaction Documents to which it is a party by Purchaser, and the
consummation by Purchaser of the transactions contemplated hereby and thereby, have been or
will be (as applicable) duly and validly authorized by all requisite corporate or similar
organizational action, and no other corporate or similar organizational proceedings on its part are
necessary to authorize the execution, delivery or performance of this Agreement and the other


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Transaction Document to which it is a party by Purchaser. This Agreement and the other
Transaction Documents to which it is a party has been or will be upon execution duly and validly
executed and delivered by Purchaser, and, assuming this Agreement and the Transaction
Documents to which they are a party are valid and binding obligations of Sellers and subject to the
entry of the Sale Order to close the sale of the Acquired Assets in accordance with this Agreement,
this Agreement and the Transaction Documents constitute valid and binding obligations of
Purchaser, enforceable against Purchaser in accordance with its and their terms, except as limited
by the application of bankruptcy, insolvency, reorganization, fraudulent conveyance, moratorium,
or other Laws relating to or affecting creditors’ rights or general principles of equity (whether
considered in a proceeding in equity or at law.

       4.3     Conflicts; Consents.

                         Except as set forth on Schedule 4.3(a) and assuming that the notices,
authorizations, approvals, Orders, permits or consents set forth on Schedule 4.3(b) are made, given
or obtained (as applicable), the execution, delivery and performance by Purchaser of this
Agreement and the other Transaction Documents to which it is a party and the consummation by
Purchaser of the transactions contemplated hereby, do not: (i) violate the certificate of formation,
limited liability company agreement or equivalent organizational documents of Purchaser;
(ii) violate any Law applicable to Purchaser or by which any material property or asset of Purchaser
is bound; or (iii) result in any breach of, constitute a default (or an event that, with notice or lapse
of time or both, would become a default) under, create in any party thereto the right to terminate
or cancel, or require any consent under, or result in the creation or imposition of any Encumbrance
on any material property or asset of Purchaser under, any material Contract; except, in each case,
for any such violations, breaches, defaults or other occurrences that would not, individually or in
the aggregate, reasonably be expected to prevent or materially delay the ability of Purchaser to
consummate the transactions contemplated hereby.

                         Except as set forth on Schedule 4.3(a), Purchaser is not required to file, seek
or obtain any notice, authorization, approval, Order, permit or consent of or with any
Governmental Body in connection with the execution, delivery and performance by Purchaser of
this Agreement or the consummation by Purchaser of the transactions contemplated hereby,
except where failure to obtain such consent, approval, authorization or action, or to make such
filing or notification, would not, individually or in the aggregate, reasonably be expected to prevent
or materially delay the ability of Purchaser to consummate the transactions contemplated hereby.

        4.4    Financing. Purchaser has, and will have at the Closing, sufficient funds in an
aggregate amount necessary to pay the Purchase Price, to perform the Assumed Liabilities as they
become due in accordance with their terms and to consummate all of the other transactions
contemplated by this Agreement, including the payment of the Purchase Price and all fees,
expenses of, and other amounts required to be paid by, Purchaser in connection with the
transactions contemplated by this Agreement.

       4.5     Brokers. Except as set forth on Schedule 4.5, all of whose fees and expenses will
be borne solely by Purchaser, there is no investment banker, broker, finder, or other intermediary
which has been retained by, or has been authorized to act on behalf of, Purchaser and is entitled to



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any fee or commission in connection with the transactions contemplated by this Agreement from
the Purchaser.

        4.6   No Litigation. There are no Actions pending or, to Purchaser’s knowledge,
threatened against or affecting Purchaser that will materially adversely affect Purchaser’s
performance under this Agreement or the consummation of the transactions contemplated by this
Agreement.

        4.7     No Additional Representations or Warranties. Except for the representations and
warranties contained in this Article IV, each of Sellers acknowledges that neither Purchaser nor
any other Person acting on behalf of Purchaser makes any other express or implied representation
or warranty with respect to Purchaser or with respect to any other information provided directly or
indirectly to any Seller by Purchaser, and they are the sole and exclusive representations,
warranties and statements of any kind made to Sellers or any member of the Seller Parties. Sellers
acknowledge and agree, on their own behalf and on behalf of the Seller Parties, that (other than
solely to the extent expressly set forth in this Article IV) all other representations, warranties and
statements of any kind or nature expressed or implied, whether in written, electronic or oral form,
are specifically disclaimed by Purchaser, and that neither Sellers nor any member of the Seller
Parties has relied on any such representations, warranties or statements.

         4.8    No Outside Reliance. Notwithstanding anything contained in this Article IV or any
other provision of this Agreement to the contrary, Purchaser acknowledges and agrees, on its own
behalf and on behalf of the Purchaser Group, that the representations and warranties made by
Sellers to Purchaser in Article III (as qualified by the information set forth in the Schedules and in
accordance with the express terms and conditions (including limitations and exclusions) of this
Agreement) (the “Express Representations”) are the sole and exclusive representations, warranties
and statements of any kind made to Purchaser or any member of the Purchaser Group. Purchaser
acknowledges and agrees, on its own behalf and on behalf of the Purchaser Group, that (other than
solely to the extent expressly set forth in the Express Representations) all other representations,
warranties and statements of any kind or nature expressed or implied, whether in written, electronic
or oral form, including (a) with respect to the completeness or accuracy of, or any omission to state
or to disclose, any information, in that certain datasite administered by Intralinks (the
“Dataroom”), any Projections or in any meetings, calls or correspondence with management of the
Sellers or any other Person on behalf of the Sellers or any of their respective Affiliates or Advisors
and (b) the quality, quantity or condition of any of the Sellers’ assets, in each case, are specifically
disclaimed by Sellers, and that neither Purchaser nor any member of the Purchaser Group has
relied on any such representations, warranties or statements. Purchaser acknowledges and agrees,
on its own behalf and on behalf of the Purchaser Group, that it has conducted to its satisfaction an
independent investigation and verification of the Acquired Assets and the Assumed Liabilities,
and, in making its determination to proceed with the transactions contemplated by this Agreement,
Purchaser has relied solely on the Express Representations and the results of the Purchaser Group’s
own independent investigation and verification.




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                                           ARTICLE V

                             BANKRUPTCY COURT MATTERS

       5.1     Bankruptcy Actions.

                        From the date hereof, the Sellers shall expeditiously file a motion with the
Bankruptcy Court seeking approval of this Agreement as a private sale of the Acquired Assets to
the Purchaser (the “Sale Motion”) and such private sale shall not be subject to the need for
additional marketing. The Parties shall use their respective commercially reasonable efforts to (i)
obtain entry of the Sale Order, and (ii) consummate the transactions contemplated hereby as
promptly as practicable and in any case prior to the Outside Date. Sellers shall take all actions as
reasonably requested by the Purchaser, including without limitation, making such employees and
Advisors of the Sellers available to testify before the Bankruptcy Court for the purposes of, among
other things, demonstrating that additional marketing or competitive bidding is unnecessary due
to the Sellers’ prior marketing efforts.

                        Purchaser and Sellers shall promptly take all actions as are reasonably
necessary to obtain the Bankruptcy Court’s entry of the Sale Order and any other Order reasonably
necessary in connection with the transactions contemplated by this Agreement as promptly as
practicable, including furnishing affidavits, financial information, or other documents or
information for filing with the Bankruptcy Court and making such employees and Advisors
available to testify before the Bankruptcy Court for the purposes of, among other things providing
necessary assurances of performance by Purchaser under this Agreement and demonstrating that
Purchaser is a “good faith” purchaser under section 363(m) of the Bankruptcy Code, as well as
demonstrating Purchaser’s ability to pay and perform or otherwise satisfy any Assumed Liabilities
following the Closing.

                        Notwithstanding any other provision of this Agreement to the contrary, the
Sellers acknowledge that from and after the date hereof until entry of the Sale Order, they will not
solicit inquiries, proposals, or offers for the Acquired Assets in connection with any Alternative
Transaction, unless required to do so by the Bankruptcy Court; provided, however, that up until
the hearing on the Sale Motion (i) Sellers may respond to any inbound inquiry with respect to some
of all of the Acquired Assets, and (ii) the Sellers may continue advertising with respect to the
Acquired Assets. To the extent any alternative bidder formally or informally asserts an objection
to approval of the sale prior to the objection deadline on the Sale Motion, indicating that such
purchaser is willing to purchase all (and not less than all) the Acquired Assets, the Seller may hold
an auction prior to the hearing on the Sale Motion seeking the highest or otherwise best bid (to the
extent such bid may constitute higher or better offers, or may result in higher or better offers, as
determined by Sellers in their business judgment, a “Competing Bid ”) for such Acquired Assets
upon reasonable notice to the Purchaser. If an auction is to be conducted, (i) any third party bidder
(the “Competing Bidder ”) must deposit ten percent (10%) of the purchase price for the Competing
Bid with the Sellers prior to commencement of such auction; (ii) the Competing Bidder must bid
more than the Purchase Price plus an amount equal to 3% of the Purchase Price (the “Break-Up
Fee”) plus the minimum overbid amount of $100,000 (the “Minimum Overbid”), (iii) subsequent
bids shall be in increments of at least the Minimum Overbid amount and (iv) the Sellers will file a
notice with the Bankruptcy Court identifying the prevailing party at the conclusion of the auction


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(such prevailing party, the “Successful Bidder”) and will seek approval of such sale at the hearing
on the Sale Motion (collectively, the “Auction Procedures”). The Sellers may revise the Auction
Procedures in their reasonable discretion and subject to their business judgement and Purchaser
reserves its right to object and raise any issues with the Bankruptcy Court regarding the Auction
Procedures. In the event an auction is conducted, and the Purchaser is not the Successful Bidder
at the auction, Sellers will, at the hearing on the Sale Motion, seek approval to pay to Purchaser
the Break-up Fee out of the proceeds of sale received by the Debtors from the Successful Bidder.

                        If an auction is conducted, and Purchaser is not the Successful Bidder but
is the next highest bidder at the auction, Purchaser will serve as a back-up bidder (the “Backup
Bidder”) and keep Purchaser’s bid to consummate the transactions contemplated by this
Agreement on the terms and conditions set forth in this Agreement (as the same may be revised in
the auction) open and irrevocable until the earlier of the Outside Date or when this Agreement is
otherwise terminated as set forth herein. If the Successful Bidder fails to consummate the
applicable Alternative Transaction as a result of a breach or failure to perform on the part of such
Successful Bidder, the Backup Bidder will be deemed to have the new prevailing bid, and the
Sellers may consummate the transactions contemplated by this Agreement on the terms and
conditions set forth in this Agreement as such terms may have been improved upon in the auction.

                        Sellers’ and Purchaser’s obligations under this Agreement and in
connection with the transactions contemplated hereby are subject to, to the extent entered, the
terms of the Sale Order. Nothing in this Agreement shall require the Seller or its Affiliates or the
Purchaser or its Affiliates to give testimony to or submit any pleading to the Bankruptcy Court that
is untruthful or to violate any duty of candor or other fiduciary duty to the Bankruptcy Court or its
stakeholders.

                                          ARTICLE VI

                             COVENANTS AND AGREEMENTS

        6.1     Conduct of Business of Sellers. Until the earlier of the termination of this
Agreement and the Closing, except (v) for any limitations on operations imposed by the
Bankruptcy Court or the Bankruptcy Code, (w) as required by applicable Law, (x) as otherwise
required by to carry out the terms of this Agreement or as set forth on Schedule 6.1 or (y) with the
prior written consent of Purchaser (which consent shall not be unreasonably withheld, conditioned
or delayed), the Sellers shall (1) maintain and preserve the Acquired Assets in their present
condition and remain current on all amounts necessary to maintain access to and to be in good
standing with respect to the Social Media Accounts included in the Acquired Assets and applicable
registrars of the Domain Names included in the Acquired Assets, and (2) without limiting the
generality of the foregoing, not:

                       issue any notes, bonds or other debt securities, or otherwise incur any
indebtedness for borrowed money or otherwise become liable for any such indebtedness of any
other Person, in each case, other than Excluded Liabilities;




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                        sell, assign, license, transfer, convey, lease, surrender, relinquish or
otherwise dispose of any portion of the Acquired Assets or relocate any of the Personal Property
that is located at the Owned Real Property;

                        cancel or compromise any material claim or waive or release any material
right, in each case, that is a claim or right related to an Acquired Asset;

                    subject any portion of the Acquired Assets to any Encumbrance, subject to
Permitted Encumbrances on the Owned Real Property;

                      allow any insurance policies maintained by the Sellers with respect to the
Acquired Assets to lapse or otherwise go in default; or

                       authorize any of, or commit or agree, in writing or otherwise, to take any
of, the foregoing actions.

        For the avoidance of doubt, the Sellers will not be required to remove and/or dispose of the
two drums of unknown materials stored on the southeastern corner of the Land as identified in the
Phase I Environmental Site Assessment dated August 18, 2020 nor will they be required to repair
the exterior box baler. Nothing contained in this Agreement is intended to give Purchaser or its
Affiliates, directly or indirectly, the right to control or direct the business of the Sellers prior to the
Closing.

        6.2     Access to Information.

                       From the date hereof until the Closing (or the earlier termination of this
Agreement pursuant to Article VIII), the Sellers will provide Purchaser and its Advisors with
reasonable access and upon reasonable advance notice and during regular business hours to the
Owned Real Property and books and records of the Sellers, in order for Purchaser and its Advisors
to access such information regarding the Acquired Assets and Sellers as Purchaser reasonably
deems necessary in connection with effectuating the transactions contemplated by this Agreement;
provided that (i) all requests for access will be directed to the General Counsel and Chief
Restructuring Officer or such other Person(s) as the Company may designate in writing from time
to time and (ii) nothing herein will require the Company to provide access to, or to disclose any
information to, Purchaser if such access or disclosure (A) would waive any legal privilege,
(B) would be in violation of applicable Laws, or (C) would result in any physical damage to the
Acquired Assets, including any Phase II or similar invasive diligence; provided that, in the event
that the Company withholds access or information in reliance on the foregoing clause (A) or (B),
the Company shall provide (to the extent possible without waiving or violating the applicable legal
privilege or Law) notice to Purchaser that such access or information is being so withheld and shall
use commercially reasonable efforts to provide such access or information in a way that would not
risk waiver of such legal privilege or applicable Law.

                       The information provided pursuant to this Section 6.2 will be used solely
for the purpose of effecting the transactions contemplated hereby, and will be governed by all the
terms and conditions of the Confidentiality Agreement, which Confidentiality Agreement shall
hereby be automatically amended to terminate upon the Closing notwithstanding anything to the
contrary therein. Neither the Company nor any of the Sellers makes any representation or warranty


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as to the accuracy of any information, if any, provided following the execution of this Agreement
pursuant to this Section 6.2, and Purchaser may not rely on the accuracy of any such information,
in each case, other than the Express Representations.

                        From and after the Closing for a period of three (3) years following the
Closing Date (or, if later, the closing of the Bankruptcy Case), Purchaser will provide Sellers and
their Advisors with reasonable access, during normal business hours, and upon reasonable advance
notice, to the ad valorem real property and personal property Tax Returns applicable to the
Acquired Assets with respect to periods prior to the Closing Date and any other books and records
of Sellers in the possession of Purchaser, if any.

       6.3     Regulatory Approvals.

                        The Sellers will (i) make or cause to be made all filings and submissions
required to be made by any of the Sellers under any applicable Laws for the consummation of the
transactions contemplated by this Agreement, (ii) cooperate with Purchaser in exchanging such
information and providing such assistance as Purchaser may reasonably request in connection with
the foregoing and (iii) (A) supply promptly any additional information and documentary material
that may be requested in connection with such filings and (B) use reasonable best efforts to take
all actions necessary to obtain all required clearances, authorizations or consents in connection
with such filings.

                       Purchaser will, and will cause its Affiliates and Advisors to, (i) make or
cause to be made all filings and submissions required to be made by any member of the Purchaser
Group under any applicable Laws for the consummation of the transactions contemplated by this
Agreement, (ii) cooperate with the Company in exchanging such information and providing such
assistance as the Company may reasonably request in connection with all of the foregoing, and
(iii) (A) supply promptly any additional information and documentary material that may be
requested in connection with such filings and (B) use reasonable best efforts to take all actions
necessary to obtain all required clearances, authorizations or consents in connection with such
filings.

       6.4     Reasonable Efforts; Cooperation.

                        Subject to the other terms of this Agreement and provisions hereof, each
Party shall, and shall cause its Advisors to, use its reasonable best efforts to perform its obligations
hereunder and to take, or cause to be taken, and do, or cause to be done, all things reasonably
necessary, proper, advisable or permitted under applicable Law to cause the transactions
contemplated herein to be effected as soon as practicable, but in any event on or prior to the Outside
Date, in accordance with the terms hereof and to cooperate with each other Party and its Advisors
in connection with any step required to be taken as a part of its obligations hereunder. The
“reasonable best efforts” of the Parties will not require any Party or any of their respective
Affiliates or Advisors to expend any money, to remedy any breach of any representation or
warranty, to commence any Action, to waive or surrender any right, to modify any Contract or to
waive or forego any right, remedy or condition expressly set forth hereunder.




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                       The obligations of the Company pursuant to this Agreement, including this
Section 6.4, shall be subject to each of Sellers’ obligations as a debtor-in-possession to comply
with any Order of the Bankruptcy Court and Sellers’ duty to seek and obtain the highest or
otherwise best price for the Acquired Assets as required by the Bankruptcy Code.

       6.5     Notification of Certain Matters.

                       The Company will promptly notify Purchaser of: (i) any notice or other
communication from any Person alleging that the consent of such Person is or may be required in
connection with the transactions contemplated by this Agreement; (ii) any notice or other
communication from any Governmental Body related to or in connection with the transactions
contemplated by this Agreement; and (iii) any breach or inaccuracy of any representation or
warranty contained in this Agreement at any time during the term hereof that would reasonable be
expected to cause the conditions set forth in Article VII not to be satisfied; provided that the
delivery of any notice pursuant to this Section 6.5(a) will not limit the remedies expressly available
to Purchaser in this Agreement.

                        Purchaser will promptly notify the Company of: (i) any notice or other
communication from any Person alleging that the consent of such Person is or may be required in
connection with the transactions contemplated by this Agreement; (ii) any notice or other
communication from any Governmental Body related to or in connection with the transactions
contemplated by this Agreement; and (iii) any breach or inaccuracy of any representation or
warranty contained in this Agreement at any time during the term hereof that would reasonably be
expected to cause the conditions set forth in Article VII not to be satisfied; provided that the
delivery of any notice pursuant to this Section 6.5(b) will not limit the remedies expressly available
to Sellers in this Agreement.

        6.6    Further Assurances. From time to time, as and when requested by any Party and at
such requesting Party’s expense, any other Party will execute and deliver, or cause to be executed
and delivered, all such documents and instruments and will take, or cause to be taken, all such
further or other actions as such requesting Party may reasonably deem necessary or desirable to
evidence and effectuate the transactions contemplated by this Agreement.

        6.7      Insurance Matters. Purchaser acknowledges that, upon Closing, all insurance
coverage provided in relation to Sellers and the Acquired Assets that is maintained by any Seller
or its Affiliates (whether such policies are maintained with third party insurers or with such Seller
or its Affiliates) shall cease to provide any coverage to Purchaser and the Acquired Assets and no
further coverage shall be available to Purchaser or the Acquired Assets under any such policies.

        6.8     Receipt of Misdirected Assets. From and after the Closing, if any Seller or any of
its respective Affiliates receives any right, property or asset that is an Acquired Asset, the
applicable Seller shall promptly transfer or cause such of its Affiliates to transfer such right,
property or asset (and shall promptly endorse and deliver any such asset that is received in the
form of cash, checks or other documents) to Purchaser, and such asset will be deemed the property
of Purchaser held in trust by such Seller for Purchaser until so transferred. From and after the
Closing, if Purchaser or any of its Affiliates receives any right, property or asset that is an Excluded
Asset, Purchaser shall promptly transfer or cause such of its Affiliates to transfer such asset (and


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shall promptly endorse and deliver any such right, property or asset that is received in the form of
cash, checks, or other documents) to the Company, and such right, property or asset will be deemed
the property of the Company held in trust by Purchaser for the Company until so transferred.

       6.9     Title and Phase One Matters.

                        The Company shall deliver to Purchaser an updated preliminary title report
or commitment (the “Title Commitment ”) from Fidelity National Title Insurance Company (the
“Title Company ”), a copy of which together with copies of all underlying documents relating to
title exceptions referred to therein received from the Title Company was (or will be) delivered to
Purchaser promptly upon Company’s receipt thereof. Any update or recertification of the survey
of the Owned Real Property (the “Survey ”) or new survey of the Owned Real Property shall be
obtained by Purchaser at Purchaser’s sole cost and expense, in connection with Purchaser’s review
and inspections of the Owned Real Property and title thereto.

                         At the Closing, Sellers shall discharge (collectively, “Must Cure Items ”):
(i) any mortgage, deed to secure debt, deed of trust, security interest or similar security instrument
encumbering all or any part of the Owned Real Property, if any, that was created or entered into
by Sellers or any party claiming by, through or under Sellers; (ii) any mechanic’s, materialman’s
or similar lien affecting or encumbering the Owned Real Property as a result of the action(s) of
any of the Sellers or the action(s) of any party claiming by, through or under Sellers, which, if
disputed and not yet resolved, may be bonded over by Sellers, but expressly excluding any such
lien resulting from any act or omission of Purchaser and with the understanding that if such lien is
disputed and not yet resolved, that same may be bonded over by Sellers in lieu of satisfying same);
(iii) the lien of ad valorem real or personal property Taxes, assessments and governmental charges
affecting all or any portion of the Owned Real Property which are delinquent, and (iv) any other
Encumbrances, in each of the foregoing cases to the extent not a Permitted Encumbrance.
Purchaser and Sellers agree that such mortgages, liens, judgments or other encumbrances, if any,
may be paid out of the cash consideration to be paid by Purchaser at Closing.

                        If the Title Commitment or Survey reveals any matter which is
objectionable to Purchaser, then Purchaser shall notify Sellers in writing within five (5) business
days after the Effective Date specifying such title defects (“Title Defects Notice ”). If Purchaser
fails to provide a Title Defect Notice within such time period, then Purchaser shall be deemed to
have accepted all matters (other than Must Cure Items), pertaining to the update to the Title
Commitment, such matters shall be deemed Permitted Encumbrances hereunder, and such
Permitted Encumbrances shall not be deemed to render title not marketable or not insurable. If
Purchaser timely delivers the Title Defect Notice, then Sellers shall within five (5) business days
thereafter notify Purchaser of any Title Defects, which Sellers are unable or unwilling to cure, it
being understood that Sellers have no obligation to cure any Title Defects other than as required
by this Section 6.9. If by Sellers’ written notice Sellers elect not to attempt to cure any of the Title
Defects, then Purchaser may, within five (5) business days of receipt of such notice or deemed
election, deliver written notice to Sellers indicating Purchaser’s election to (A) terminate this
Agreement and receive a refund of the Deposit, or (B) proceed to close and accept title “as is”
without reduction in the Purchase Price, in which event the Title Defects (other than Must Cure
Items) shall be deemed to be waived for all purposes. If Purchaser fails to notify Sellers, in writing,



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of Purchaser’s intention to proceed under subsection (A) or (B) above, then Purchaser shall be
deemed to have elected to proceed under subsection (B) above.

                       If, at any time prior to the Closing Date, an update to the Title Commitment
reveals any matter not disclosed in a prior version of the Title Commitment and which is
objectionable to Purchaser, then Purchaser shall notify Sellers in writing within five (5) business
days after Purchaser’s receipt of such update specifying the new Title Defects (“Supplemental
Title Defects Notice”). If Purchaser fails to provide a Supplemental Title Defect Notice within
such time period, then Purchaser shall be deemed to have accepted all matters (other than Must
Cure Items), pertaining to the update to the Title Commitment, such matters shall be deemed
Permitted Encumbrances hereunder, and such Permitted Encumbrances shall not be deemed to
render title not marketable or not insurable. If Purchaser timely delivers the Supplemental Title
Defect Notice, then Sellers shall within five (5) business days thereafter notify Purchaser of any
new Title Defects which Sellers are unable or unwilling to cure, it being understood that Sellers
have no obligation to cure any such Title Defects other than as required by this Section 6.9(d). If
by Sellers’ written notice Sellers elect not to attempt to cure any of such Title Defects, then
Purchaser may, within five (5) business days of receipt of such notice or deemed election, deliver
written notice to Sellers indicating Purchaser’s election to (A) terminate this Agreement and
receive a refund of the Deposit or (B) proceed to close and accept title “as is” without reduction in
the Purchase Price, in which event such new Title Defects (other than Must Cure Items) shall be
deemed to be waived for all purposes. If Purchaser fails to notify Sellers in writing of Purchaser’s
intention to proceed under subsection (A) or (B) above, then Purchaser shall be deemed to have
elected to proceed under subsection (B) above.

                     Purchaser acknowledges that is shall use reasonable best efforts to execute
an engagement agreement with Bureau Veritas to obtain a Phase 1 Environmental Assessment in
form reasonably acceptable to Purchaser as soon as possible following execution of this
Agreement, and Purchaser shall promptly execute and deliver any documents reasonably requested
from Purchaser by Bureau Veritas for purposes of issuing such report.

        6.10 Post-Transfer Domain Name. For a period of one ninety (90) days after the date on
which either the “stage.com” or “stagestore.com” Domain Name is transferred to Purchaser,
Purchaser will not (i) change the respective DNS record associated with each such Domain Name
as to enable Sellers to continue to receive emails and utilize VPN and remote access services
associated with such Domain Names, or (ii) take any action intended to disrupt Sellers’ access to
the services associated with such Domain Names, provided that Purchaser will not be restricted
from changing the “A” or “CNAME” DNS records for such Domain Names to redirect web
services for customer-facing purposes. In the event Purchaser assigns, transfers, licenses, or
otherwise grants rights in the either the “stage.com” or “stagestore.com” Domain Name to a third
party within the applicable ninety (90) day period, Purchaser will ensure that any third party to
whom it assigns, transfers, licenses, or otherwise grants rights in such Domain Name agrees in
writing, for the benefit of Sellers, to a provision equivalent to this Section 6.10.

        6.11 Transfer Copy of Customer Data. Following the Closing, Purchaser will make
available to Sellers a copy of the Customer Data, solely for the use of Sellers to address any Actions
asserted against the Sellers following the Closing or to wind down the Sellers’ estates (the “Bona
Fide Purposes”), provided, that Purchaser will not make a copy of the Customer Data available to


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Sellers in a manner that will violate applicable Privacy Laws or applicable published privacy
policies. Sellers will not use the Customer Data for any purpose other than the Bona Fide Purposes.
Sellers shall not (a) disclose any Customer Data to third parties without prior written authorization
from the Purchaser or (b) copy, modify, publish, or transfer any Customer Data without prior
written authorization from the Purchaser; except in each case of (a) and (b) in the event that a
Seller is requested or required to disclose any Customer Data pursuant to any applicable Law or
pursuant to the applicable terms of a deposition, interrogatory, request for documents, subpoena,
order, civil investigative demand or similar judicial process. Sellers shall use the same degree of
care to protect Customer Data as Sellers used to preserve and safeguard the Customer Data prior
to Closing. Sellers shall notify Purchaser in writing immediately upon becoming aware of the
occurrence of any unauthorized use or disclosure of Customer Data, whether inadvertent or
otherwise, and shall use reasonable efforts to prevent or limit any further dissemination of the
Customer Data. If any Sellers or their Affiliates will hold any Customer Data upon completion of
the Bona Fide Purposes, before such completion, Sellers will notify Purchaser of same and
coordinate with it on the destruction of such Customer Data prior to such completion. After the
execution of this Agreement, the Sellers and Purchaser shall cooperate with each other to
coordinate with the applicable third party vendors or registries as necessary to transfer to Purchaser
the Customer Data and Social Media Accounts as Purchaser may reasonably request.

                                          ARTICLE VII

                                 CONDITIONS TO CLOSING

        7.1     Conditions Precedent to the Obligations of Purchaser and Sellers. The respective
obligations of each Party to this Agreement to consummate the transactions contemplated by this
Agreement are subject to the satisfaction (or to the extent permitted by Law, written waiver by
each of Sellers and Purchaser) on or prior to the Closing Date, of each of the following conditions:

                      no court or other Governmental Body has issued, enacted, entered,
promulgated or enforced any Law or Order (that is final and non-appealable and that has not been
vacated, withdrawn or overturned) restraining, enjoining or otherwise prohibiting the transactions
contemplated by this Agreement; and

                       the Bankruptcy Court shall have entered the Sale Order.

        7.2    Conditions Precedent to the Obligations of Purchaser. The obligations of Purchaser
to consummate the transactions contemplated by this Agreement are subject to the satisfaction (or
to the extent permitted by Law, written waiver by Purchaser in its sole discretion), on or prior to
the Closing Date, of each of the following conditions:

                       Sellers shall have delivered to Purchaser a certified copy of the Sale Order;

                       the representations and warranties made by each of the Sellers in Article III
shall be true and correct in all material respects in the aggregate as of the Closing Date
(disregarding all qualifications or limitations as to “materiality” or “material adverse effect” and
words of similar import set forth therein), as though such representations and warranties had been
made on and as of the Closing Date (except that representations and warranties that are made as



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of a specified date need be true and correct only as of such date), except that the representations
and warranties set forth in Sections 3.1, 3.2, 3.4(c) and 3.12 will be true and correct in all respects
(without disregarding any materiality qualifiers set forth therein, if any);

                        Each of the Sellers shall have performed or caused to be performed, in all
material respects, all of the obligations and covenants required by this Agreement to be performed
by each of the Sellers by the Closing;

                       The Title Company shall have issued (or provided an unconditional
agreement to deliver to Purchaser as soon as possible after Closing if such cannot be delivered at
Closing) an Owner’s Title Insurance Policy (the “Title Policy”) dated as of the Closing Date, in
the amount of the Purchase Price and insuring the indefeasible, fee simple title to the Owned Real
Property to be held by Purchaser, subject to no exceptions other than those matters disclosed by
the Title Commitment and not objected to by Purchaser in a Title Defect Notice. The Title Policy
may contain such endorsements as reasonably requested by Purchaser at Purchaser’s sole expense,
provided that the issuance of such endorsements shall not be a condition to Purchaser’s obligation
to close the transaction contemplated hereunder. The premium for the Title Policy will be shared
equally (50-50%) between Sellers’ and Purchaser;

                     Purchaser shall have received from Bureau Veritas a Phase I Environmental
Site Assessment on the Owned Real Property in form reasonably acceptable to Purchaser; and

                        Sellers shall have delivered, or caused to be delivered, to Purchaser all of
the items set forth in Section 2.4.

        7.3    Conditions Precedent to the Obligations of the Sellers. The obligations of Sellers to
consummate the transactions contemplated by this Agreement are subject to the satisfaction (or to
the extent permitted by Law, written waiver by Sellers in their sole discretion), on or prior to the
Closing Date, of each of the following conditions:

                        the representations and warranties made by Purchaser in Article IV shall be
true and correct in all material respects in the aggregate (without giving effect to any materiality
or similar qualification contained therein), in each case as of the date hereof and as of the Closing
Date, with the same force and effect as though all such representations and warranties had been
made as of the Closing Date (other than representations and warranties that by their terms address
matters only as of another specified date, which shall be so true and correct only as of such other
specified date), except that the representations and warranties set forth in Sections 4.1, 4.2 and 4.5
will be true and correct in all respects (without disregarding any material qualifiers set forth
therein, if any);

                       Purchaser shall have performed or caused to be performed, in all material
respects, all of the obligations and covenants required by this Agreement to be performed by
Purchaser by the Closing; and

                        Purchaser shall have delivered, or caused to be delivered, to Sellers all of
the items set forth in Section 2.5.




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        7.4     Waiver of Conditions. Upon the occurrence of the Closing, any condition set forth
in this Article VII that was not satisfied as of the Closing will be deemed to have been waived for
all purposes by the Party having the benefit of such condition as of and after the Closing. None of
Purchaser or Sellers may rely on the failure of any condition set forth in this Article VII, as
applicable, to be satisfied if such failure was caused by such Party’s failure to use, as required by
this Agreement, its reasonable best efforts to consummate the transactions contemplated hereby.

                                         ARTICLE VIII

                                        TERMINATION

        8.1     Termination of Agreement. This Agreement may be terminated only in accordance
with this Section 8.1. This Agreement may be terminated at any time prior to the Closing:

                       by the mutual written consent of the Company and Purchaser;

                      by written notice of either Purchaser or the Company, upon the issuance by
any Governmental Body of an Order restraining, enjoining, or otherwise prohibiting the
consummation of the transactions contemplated by this Agreement or declaring unlawful the
transactions contemplated by this Agreement, and such Order having become final, binding and
non-appealable; provided that no termination may be made by a Party under this Section 8.1(b) if
the issuance of such Order was caused by the material breach of the terms of this Agreement by
such Party;

                       by written notice of either Purchaser or the Company, if the Closing shall
not have occurred on or before October 30, 2020 (the “Outside Date”); provided that a Party shall
not be permitted to terminate this Agreement pursuant to this Section 8.1(c) if the failure of the
Closing to have occurred by the Outside Date was caused by the material breach of the terms of
this Agreement by such Party;

                       by written notice of either Purchaser or the Company, if the Bankruptcy
Case is dismissed or converted to a case or cases under Chapter 7 of the Bankruptcy Code, or if a
trustee or examiner with expanded powers to operate or manage the financial affairs or
reorganization of the Sellers is appointed in the Bankruptcy Case;

                        by written notice from the Company to Purchaser, upon a material breach
of any covenant or agreement on the part of Purchaser, or if any representation or warranty of
Purchaser will have become untrue, in each case, such that the conditions set forth in Section 7.3(a)
or 7.3(b) would not be satisfied, including a breach of Purchaser’s obligation to consummate the
Closing; provided that (i) if such breach is curable by Purchaser then the Company may not
terminate this Agreement under this Section 8.1(e) unless such breach has not been cured by the
date which is the earlier of (A) two (2) Business Days prior to the Outside Date and (B) thirty (30)
days after the Company notifies Purchaser of such breach and (ii) the right to terminate this
Agreement pursuant to this Section 8.1(e) will not be available to the Company at any time that a
Seller is in material breach of, any covenant, representation or warranty hereunder;

                      by written notice from Purchaser to the Company, upon a material breach
of any covenant or agreement on the part of any Seller, or if any representation or warranty of any


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Seller will have become untrue, in each case, such that the conditions set forth in Section 7.2(b)
or 7.2(c); provided that (i) if such breach is curable by such Seller then Purchaser may not
terminate this Agreement under this Section 8.1(f) unless such breach has not been cured by the
date which is the earlier of (A) two (2) Business Days prior to the Outside Date and (B) thirty (30)
days after Purchaser notifies the Company of such breach and (ii) the right to terminate this
Agreement pursuant to this Section 8.1(f) will not be available to Purchaser at any time that
Purchaser is in material breach of, any covenant, representation or warranty hereunder;

                       solely before entry of the Sale Order, by written notice from the Company
to Purchaser, if any Seller or the board of directors (or similar governing body) of any Seller
determines, that proceeding with the transactions contemplated by this Agreement would be
inconsistent with its or such Person’s or body’s fiduciary duties and enters into an Alternative
Transaction; provided the Sellers fully perform their obligations under Section 5.1(c); or

                       if an auction is held, by written notice from Purchaser to the Company, if
Purchaser is not the Successful Bidder or the Backup Bidder at the auction; provided (i) Purchaser
fully performs its obligations under Section 5.1(d) and (ii) Sellers fully perform their obligations
under Section 5.1(c).

       8.2     Effect of Termination. In the event of termination of this Agreement pursuant to
the express terms of this Agreement, including Section 8.1, Section 6.9(c) or Section 2.7, this
Agreement shall forthwith become void and there shall be no liability on the part of any Party or
any of its Affiliates, Advisors, partners, officers, directors, managers, members, partners or
shareholders; provided that Section 2.2, Section 5.1, this Section 8.2, and Article X (expressly
excepting Section 10.12 captioned “Specific Performance”) shall survive any such termination.

                                          ARTICLE IX

                                             TAXES

       9.1      Transfer Taxes. Any sales, use, purchase, transfer, franchise, deed, fixed asset,
stamp, documentary stamp, use, or other Taxes and recording charges, if any, payable by reason
of the sale of the Acquired Assets or the assumption of the Assumed Liabilities under this
Agreement or the transactions contemplated hereby (the “Transfer Taxes”) shall be borne and
timely paid by Purchaser, and Purchaser shall timely file all Tax Returns related to any Transfer
Taxes. Sellers and Purchaser shall use commercially reasonable efforts and cooperate in good faith
to exempt all such transactions from any Transfer Taxes.

       9.2      Cooperation. Purchaser and Sellers shall reasonably cooperate, as and to the extent
reasonably requested by the other Party, in connection with the filing of Tax Returns and any
Action, audit, litigation, or other proceeding with respect to Taxes.

       9.3     Preparation of Tax Returns and Payment of Taxes.

                        Except as otherwise provided by Section 9.1, Sellers shall prepare and
timely file (i) all Tax Returns for any Pre-Closing Tax Period and (ii) all income Tax Returns of
Sellers. Except to the extent any Tax reflected on a return required to be prepared and filed by
Sellers pursuant to this Section 9.4 is otherwise reflected as an adjustment to Purchase Price or


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constitutes an Assumed Liability, Sellers shall be responsible for paying any Taxes reflected on
any Tax Return that Sellers are obligated to prepare and file under this Section 9.3(a).

                        All ad valorem real and personal property Taxes assessed against Sellers for
the Acquired Assets for the year prior to the year in which the Closing occurs and prior years, and
any matured and unmatured installments of special assessments with respect to the Acquired
Assets attributable to a Pre-Closing Tax Period and due as of the Closing Date shall be paid solely
by Seller. Any ad valorem real and personal property Taxes on the Acquired Assets as of the
Closing for the Tax period in which the Closing occurs (the “Proration Period”), shall be
apportioned and prorated between Sellers and Purchaser as of the Closing Date with Purchaser
bearing the expense of Purchaser’s proportionate share of such Taxes that shall be equal to the
product obtained by multiplying (A) a fraction, the numerator being the amount of the Taxes and
the denominator being the total number of days in the Proration Period, times (B) the number of
days in the Proration Period after, from and including the Closing Date. If the Closing shall occur
before a new ad valorem real estate or personal property Tax rate is fixed for the applicable
property, or if the amount of any such Tax cannot be ascertained on the Closing Date,
apportionment and proration of Taxes for such property at the Closing shall be upon the basis of
the old Tax rate for the preceding fiscal year applied to the latest assessed valuation. Promptly
after the new Tax rate is fixed, the apportionment of Taxes shall be recomputed by the Parties and
any discrepancy resulting from such recomputation and any errors or omissions in computing
apportionments at the Closing shall be promptly corrected and the proper party reimbursed within
fifteen (15) days following such recomputation. Purchaser agrees to accept as a credit against the
Purchase Price the portion owed by Sellers attributable to the period prior to the Closing Date.
Purchaser shall prepare and timely file any ad valorem Tax Returns for all Proration Periods and
shall provide Sellers with a draft of such Tax Returns at least twenty (20) days prior to the filing
of any such Tax Return. All Tax Returns for a Proration Period shall be prepared as required by
Law. Purchaser shall incorporate any changes reasonably requested by Sellers that are provided
within ten (10) days after the delivery of such draft to Sellers with respect to such Tax Returns.

                    Upon the request of Purchaser, Sellers shall apply for a certificate of tax
clearance (or comparable document) with respect to the Acquired Assets from the requested
Governmental Body and Sellers will promptly deliver such certificate to Purchaser upon receipt
of the same.

                        Purchaser shall not file any Tax Return, file an amendment to any
previously-filed ad valorem Tax Return, or otherwise take any Tax position that has the effect of
increasing any Tax due for a Pre-Closing Tax Period or portion of a Proration Period ending on
the Closing, unless Purchaser receives an opinion from a nationally recognized accounting firm or
law firm that there is no adequate “reporting position” with respect to any previously-asserted
position with respect to Taxes. Upon such determination, Purchaser shall provide no less than
twenty (20) days’ notice of such position to Sellers before filing any such Tax Return. In the event
Sellers disagree with such Tax position, and the dispute cannot be resolved between the Parties,
such dispute shall be submitted to an independent national accounting firm or law firm mutually
acceptable to Purchaser and Sellers for resolution, with the costs of such resolution to be evenly
split by Purchaser, on the one hand, and Sellers, on the other hand. The determination of such
independent national accounting firm or law firm shall be binding on all Parties and any Tax Return
shall be filed consistently with such resolution.


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                                            ARTICLE X

                                       MISCELLANEOUS

        10.1 Non-Survival of Representations and Warranties and Certain Covenants; Certain
Waivers. Each of the representations and warranties and the covenants and agreements (to the
extent such covenant or agreement to the extent such covenant or agreement contemplates or
requires performance by such Party prior to the Closing), contemplates or requires performance
by such Party prior to the Closing) of the Parties set forth in this Agreement or in any other
document contemplated hereby, or in any certificate delivered hereunder or thereunder, will
terminate effective immediately as of the Closing such that no claim for breach of any such
representation, warranty, covenant or agreement, detrimental reliance or other right or remedy
(whether in Contract, in tort or at law or in equity) may be brought with respect thereto after the
Closing. Each covenant and agreement that explicitly contemplates performance after the Closing,
will, in each case and to such extent, expressly survive the Closing in accordance with its terms,
and if no term is specified, then for five (5) years following the Closing Date, and nothing in this
Section 10.1 will be deemed to limit any rights or remedies of any Person for breach of any such
surviving covenant or agreement unless otherwise limited in Section 8.2. Purchaser and Seller
Parties acknowledge and agree, on their own behalf and on behalf of the Purchaser Group or the
Seller Parties, as the case may be, that the agreements and limitations contained in this
Section 10.1 are an integral part of the transactions contemplated hereby and that, without the
agreements set forth in this Section 10.1, none of the Parties would enter into this Agreement.
Purchaser Group hereby waives all rights and remedies that any member of the Purchaser Group
may have against Seller under Environmental Law (including those arising under the
Comprehensive Environmental Response, Compensation and Liability Act of 1980, as amended,
or analogous Environmental Laws) relating to this Agreement or the transactions contemplated
hereby.

        10.2 Expenses. Whether or not the Closing takes place, except as otherwise provided
herein (including, for the avoidance of doubt, Section 8.2), all fees, costs and expenses (including
fees, costs and expenses of Advisors) incurred in connection with the negotiation of this
Agreement and the other agreements contemplated hereby, the performance of this Agreement and
the other agreements contemplated hereby and the consummation of the transactions contemplated
hereby and thereby will be paid by the Party incurring such fees, costs and expenses; it being
acknowledged and agreed that all Transfer Taxes will be allocated pursuant to Section 9.1.

        10.3 Notices. Except as otherwise expressly provided herein, all notices, demands and
other communications to be given or delivered under or by reason of the provisions of this
Agreement will be in writing and will be deemed to have been given (a) when personally delivered,
(b) when transmitted by electronic mail, (c) the day following the day on which the same has been
delivered prepaid to a reputable national overnight air courier service or (d) the third (3rd) Business
Day following the day on which the same is sent by certified or registered mail, postage prepaid,
in each case, to the respective Party at the number, electronic mail address or street address, as
applicable, set forth below, or at such other number, electronic mail address or street address as
such Party may specify by written notice to the other Party.




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       Notices to Purchaser:

       Burke’s DC, TX LLC
       1806 38th Avenue E
       Bradenton, FL 34208
       Attention:    Brian Crowley, Senior Vice President
       Email:        bcrowley@BEALLSINC.COM

       with a copy to (which shall not constitute notice):

       Haynes and Boone, LLP
       1221 McKinney Street, Suite 4000
       Houston, Texas 77010
       Attention:   Kenric Kattner
                    Ricardo Garcia-Moreno
       Email:       kenric.kattner@haynesboone.com;
                    ricardo.garcia-moreno@haynesboone.com


       Notices to Sellers:

       Stage Stores, Inc.
       PO BOX 56627
       Houston, TX 77256-6627
       Attention:     Charles W. Haubiel II
                      Acting General Counsel
       Email:         chuck.haubiel@stage.com


       with a copy to (which shall not constitute notice):

       Kirkland & Ellis LLP
       1601 Elm Street
       Dallas, Texas 75201
       Attention:     Michael Considine, P.C.
       Email:         MPConsidine@kirkland.com

       and

       Kirkland & Ellis LLP
       601 Lexington Avenue
       New York, NY 10022
       Attention:    Joshua A. Sussberg, P.C.
                     Joshua M. Altman
       Email:        jsussberg@kirkland.com
                     joshua.altman@kirkland.com




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        10.4 Binding Effect; Assignment. This Agreement shall be binding upon Purchaser and
Sellers, and shall inure to the benefit of and be so binding on the Parties and their respective
successors and permitted assigns, including any trustee or estate representative appointed in the
Bankruptcy Case or any successor Chapter 7 case; provided that neither this Agreement nor any
of the rights or obligations hereunder may be assigned or delegated without the prior written
consent of Purchaser and the Company, and any attempted assignment or delegation without such
prior written consent shall be null and void, except that Purchaser shall be permitted, upon prior
notice to the Company, to assign all or part of Purchaser’s rights or obligations hereunder to an
Affiliate, but no such assignment shall relieve Purchaser of Purchaser’s obligations under this
Agreement.

        10.5 Amendment and Waiver. Any provision of this Agreement or the Schedules or
exhibits hereto may be (a) amended only in a writing signed by Purchaser and the Sellers or
(b) waived only in a writing executed by the Person against which enforcement of such waiver is
sought. No waiver of any provision hereunder or any breach or default thereof will extend to or
affect in any way any other provision or prior or subsequent breach or default.

        10.6 Third Party Beneficiaries. Except as otherwise expressly provided herein, nothing
expressed or referred to in this Agreement will be construed to give any Person other than the
Parties any legal or equitable right, remedy, or claim under or with respect to this Agreement or
any provision of this Agreement.

         10.7 Non-Recourse. This Agreement may only be enforced against, and any Action
based upon, arising out of or related to this Agreement may only be brought against, the Persons
that are expressly named as parties to this Agreement. Except to the extent named as a party to this
Agreement, and then only to the extent of the specific obligations of such parties set forth in this
Agreement, no past, present or future shareholder, member, partner, manager, director, officer,
employee, Affiliate, agent or Advisor of any Party or any Subsidiary of the Parties will have any
liability (whether in Contract, tort, equity or otherwise) for any of the representations, warranties,
covenants, agreements or other obligations or Liabilities of any of the parties to this Agreement or
for any Action based upon, arising out of or related to this Agreement.

        10.8 Severability. Whenever possible, each provision of this Agreement will be
interpreted in such manner as to be effective and valid under applicable Law, but if any provision
of this Agreement is held to be prohibited by or invalid under applicable Law in any jurisdiction,
such provision will be ineffective only to the extent of such prohibition or invalidity in such
jurisdiction, without invalidating the remainder of such provision or the remaining provisions of
this Agreement or in any other jurisdiction.

        10.9 Construction. The language used in this Agreement will be deemed to be the
language chosen by the Parties to express their mutual intent, and no rule of strict construction will
be applied against any Person. The headings of the sections and paragraphs of this Agreement have
been inserted for convenience of reference only and will in no way restrict or otherwise modify
any of the terms or provisions hereof.

       10.10 Schedules. The Schedules have been arranged for purposes of convenience in
separately numbered sections corresponding to the sections of this Agreement; however, each


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section of the Schedules will be deemed to incorporate by reference all information disclosed in
any other section of the Schedules. Capitalized terms used in the Schedules and not otherwise
defined therein have the meanings given to them in this Agreement. The specification of any dollar
amount or the inclusion of any item in the representations and warranties contained in this
Agreement, the Schedules or the attached exhibits is not intended to imply that the amounts, or
higher or lower amounts, or the items so included, or other items, are or are not required to be
disclosed (including whether such amounts or items are required to be disclosed as material or
threatened) or are within or outside of the Ordinary Course, and no Party will use the fact of the
setting of the amounts or the fact of the inclusion of any item in this Agreement, the Schedules, or
exhibits in any dispute or controversy between the Parties as to whether any obligation, item or
matter not set forth or included in this Agreement, the Schedules or exhibits is or is not required
to be disclosed (including whether the amount or items are required to be disclosed as material or
threatened) or are within or outside of the Ordinary Course. No information set forth in the
Schedules will be deemed to broaden in any way the scope of the Parties’ representations and
warranties. Any description of any agreement, document, instrument, plan, arrangement or other
item set forth on any Schedule is a summary only and is qualified in its entirety by the terms of
such agreement, document, instrument, plan, arrangement, or item. The information contained in
this Agreement, in the Schedules and exhibits hereto is disclosed solely for purposes of this
Agreement, and no information contained herein or therein will be deemed to be an admission by
any Party to any third party of any matter whatsoever, including any violation of Law or breach of
Contract.

         10.11 Complete Agreement. This Agreement, together with the Confidentiality
Agreement and any other agreements expressly referred to herein or therein, contains the entire
agreement of the Parties respecting the sale and purchase of the Acquired Assets and the Assumed
Liabilities and the transactions contemplated by this Agreement and supersedes all prior
agreements among the Parties respecting the sale and purchase of the Acquired Assets and the
Assumed Liabilities and the transactions contemplated by this Agreement. In the event an
ambiguity or question of intent or interpretation arises with respect to this Agreement, the terms
and provisions of the execution version of this Agreement will control and prior drafts of this
Agreement and the documents referenced herein will not be considered or analyzed for any
purpose (including in support of parol evidence proffered by any Person in connection with this
Agreement), will be deemed not to provide any evidence as to the meaning of the provisions hereof
or the intent of the Parties with respect hereto and will be deemed joint work product of the Parties.

        10.12 Specific Performance. The Sellers agree that irreparable damage, for which
monetary relief, even if available, would not be an adequate remedy, would occur in the event that
any provision of this Agreement is not performed in accordance with its specific terms or is
otherwise breached, including if any of the Sellers fails to take any action required of it hereunder
to consummate the transactions contemplated by this Agreement. It is accordingly agreed that
(a) the Purchaser will be entitled to an injunction or injunctions, specific performance or other
equitable relief to prevent breaches of this Agreement and to enforce specifically the terms and
provisions hereof in the courts described in Section 10.13 without proof of damages or otherwise,
this being in addition to any other remedy (if any) to which Purchaser is entitled, and (b) the right
of specific performance and other equitable relief is an integral part of the transactions
contemplated by this Agreement and without that right, Purchaser would not have entered into this
Agreement. The Sellers acknowledge and agree that any if Purchaser pursues an injunction or


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injunctions or other Order to prevent breaches of this Agreement and to enforce specifically the
terms and provisions of this Agreement in accordance with this Section 10.12, it will not be
required to provide any bond or other security in connection with any such Order. The remedies
available to Purchaser pursuant to this Section 10.12 will be in addition to any other remedy to
which it was entitled at law or in equity, and the election to pursue an injunction or specific
performance will not restrict, impair or otherwise limit Purchaser from seeking to collect or
collecting damages. If, prior to the Outside Date, Purchaser brings any action, in each case in
accordance with this Section 10.12, to enforce specifically the performance of the terms and
provisions hereof by Seller, the Outside Date will automatically be extended (y) for the period
during which such action is pending, plus ten (10) Business Days or (z) by such other time period
established by the court presiding over such action, as the case may be. In no event will this
Section 10.12 be used, alone or together with any other provision of this Agreement, to require
any Seller to remedy any breach of any representation or warranty of any Seller made herein.
Following the Closing, each Party will be entitled to an injunction or injunctions, specific
performance or other equitable relief to enforce specifically the terms and provisions hereof
requiring performance after the Closing in the courts described in Section 10.13 without proof of
damages or otherwise. Neither Party will be required to provide any bond or other security in
connection with any such action.

        10.13 Jurisdiction and Exclusive Venue. Each of the Parties irrevocably agrees that any
Action that may be based upon, arising out of, or related to this Agreement or the negotiation,
execution or performance of this Agreement and the transactions contemplated hereby brought by
any other Party or its successors or assigns will be brought and determined only in (a) the
Bankruptcy Court and any federal court to which an appeal from the Bankruptcy Court may be
validly taken or (b) if the Bankruptcy Court is unwilling or unable to hear such Action, in the
Delaware Chancery Court and any state court sitting in the State of Delaware to which an appeal
from the Delaware Chancery Court may be validly taken (or, if the Delaware Chancery Court
declines to accept jurisdiction over a particular matter, any state or federal court within the state
of Delaware) ((a) and (b), the “Chosen Courts”), and each of the Parties hereby irrevocably submits
to the exclusive jurisdiction of the Chosen Courts for itself and with respect to its property,
generally and unconditionally, with regard to any such Action arising out of or relating to this
Agreement and the transactions contemplated hereby. Each of the Parties agrees not to commence
any Action relating thereto except in the Chosen Courts, other than Actions in any court of
competent jurisdiction to enforce any Order, decree or award rendered by any Chosen Court, and
no Party will file a motion to dismiss any Action filed in a Chosen Court on any jurisdictional or
venue-related grounds, including the doctrine of forum non-conveniens. The Parties irrevocably
agree that venue would be proper in any of the Chosen Courts, and hereby irrevocably waive any
objection that any such court is an improper or inconvenient forum for the resolution of such
Action. Each of the Parties further irrevocably and unconditionally consents to service of process
in the manner provided for notices in Section 10.3. Nothing in this Agreement will affect the right
of any Party to this agreement to serve process in any other manner permitted by Law.

       10.14 Governing Law; Waiver of Jury Trial.

                     Except to the extent the mandatory provisions of the Bankruptcy Code
apply, this Agreement, and any Action that may be based upon, arising out of or related to this
Agreement or the negotiation, execution or performance of this Agreement or the transactions


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contemplated hereby will be governed by and construed in accordance with the internal Laws of
the State of Delaware applicable to agreements executed and performed entirely within such State
without regards to conflicts of law principles of the State of Delaware or any other jurisdiction that
would cause the Laws of any jurisdiction other than the State of Delaware to apply.

                EACH PARTY ACKNOWLEDGES AND AGREES THAT ANY
CONTROVERSY THAT MAY ARISE UNDER THIS AGREEMENT, THE DOCUMENTS
AND AGREEMENTS CONTEMPLATED HEREBY AND THE TRANSACTIONS
CONTEMPLATED HEREBY AND THEREBY IS LIKELY TO INVOLVE COMPLICATED
AND DIFFICULT ISSUES AND THEREFORE HEREBY WAIVES, TO THE FULLEST
EXTENT PERMITTED BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO A TRIAL
BY JURY IN ANY ACTION BASED ON, ARISING OUT OF OR RELATED TO THIS
AGREEMENT, ANY DOCUMENT OR AGREEMENT CONTEMPLATED HEREBY OR THE
TRANSACTIONS CONTEMPLATED HEREBY AND THEREBY. EACH OF THE PARTIES
AGREES AND CONSENTS THAT ANY SUCH ACTION WILL BE DECIDED BY COURT
TRIAL WITHOUT A JURY AND THAT THE PARTIES TO THIS AGREEMENT MAY FILE
AN ORIGINAL COUNTERPART OF A COPY OF THIS AGREEMENT WITH ANY COURT
AS WRITTEN EVIDENCE OF THE CONSENT OF THE PARTIES TO THE IRREVOCABLE
WAIVER OF THEIR RIGHT TO TRIAL BY JURY. EACH PARTY (I) CERTIFIES THAT NO
ADVISOR OF ANY OTHER PARTY HAS REPRESENTED, EXPRESSLY OR OTHERWISE,
THAT SUCH OTHER PARTY WOULD NOT, IN THE EVENT OF LITIGATION, SEEK TO
ENFORCE THE FOREGOING WAIVER AND (II) ACKNOWLEDGES THAT IT AND THE
OTHER PARTIES HAVE BEEN INDUCED TO ENTER INTO THIS AGREEMENT BY,
AMONG OTHER THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS
SECTION.

        10.15 Counterparts and PDF. This Agreement and any other agreements referred to herein
or therein, and any amendments hereto or thereto, may be executed in multiple counterparts, any
one of which need not contain the signature of more than one party hereto or thereto, but all such
counterparts taken together will constitute one and the same instrument. Any counterpart, to the
extent signed and delivered by means of a facsimile machine, .PDF or other electronic
transmission, will be treated in all manners and respects as an original Contract and will be
considered to have the same binding legal effects as if it were the original signed version thereof
delivered in person. Minor variations in the form of the signature page to this Agreement or any
agreement or instrument contemplated hereby, including footers from earlier versions of this
Agreement or any such other document, will be disregarded in determining the effectiveness of
such signature. At the request of any party or pursuant to any such Contract, each other party hereto
or thereto will re-execute original forms thereof and deliver them to all other parties. No party
hereto or to any such Contract will raise the use of a facsimile machine, .PDF or other electronic
transmission to deliver a signature or the fact that any signature or Contract was transmitted or
communicated through the use of facsimile machine, .PDF or other electronic transmission as a
defense to the formation of a Contract and each such party forever waives any such defense.

       10.16 Publicity. Neither the Sellers nor Purchaser shall issue any press release or public
announcement concerning this Agreement or the transactions contemplated hereby without
obtaining the prior written approval of the other Party, which approval will not be unreasonably
withheld or delayed, unless, in the reasonable judgment of Purchaser or the Company, disclosure


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is otherwise required by applicable Law or by the Bankruptcy Court with respect to filings to be
made with the Bankruptcy Court in connection with this Agreement or by the applicable rules of
any stock exchange on which Purchaser or the Company lists securities, provided that the Party
intending to make such release shall use its reasonable best efforts consistent with such applicable
Law or Bankruptcy Court requirement to consult with the other Party with respect to the text
thereof.

        10.17 Bulk Sales Laws. The Parties intend that pursuant to section 363(f) of the
Bankruptcy Code, the transfer of the Acquired Assets shall be free and clear of any Encumbrances
in the Acquired Assets including any liens or claims arising out of the bulk transfer laws except
Permitted Encumbrances on the Owned Real Property, and the parties shall take such steps as may
be necessary or appropriate to so provide in the Sale Order. In furtherance of the foregoing, each
Party hereby waives compliance by the Parties with the “bulk sales,” “bulk transfers” or similar
Laws and all other similar Laws in all applicable jurisdictions in respect of the transactions
contemplated by this Agreement.

        10.18 Fiduciary Obligations. Prior to entry of the Sale Order, nothing in this Agreement,
or any document related to the transactions contemplated hereby, will require any Seller or any of
their respective directors, officers or members, in each case, in their capacity as such, to take any
action, or to refrain from taking any action, to the extent inconsistent with their fiduciary
obligations. For the avoidance of doubt, prior to entry of the Sale Order, (a) Sellers retain the right,
consistent with the requirements of Section 5.1(c) herein, to pursue any transaction or restructuring
strategy that, in Sellers’ business judgment, will maximize the value of their estates and (b) in the
event the Sellers exercise their fiduciary obligations and pursue an Alternative Transaction, they
shall seek court approval of the Break-Up Fee set forth in Section 5.1(c).

       10.19 Utilities. All utility charges accruing prior to the Closing Date with respect to the
Owned Real Property will be paid by Sellers, and all utility charges accrued on and after the
Closing Date with respect to the Owned Real Property will be paid by Purchaser.

        10.20 Performance Guarantee. Parent hereby guarantees the performance of (a) the
payment of the Deposit pursuant to section 2.2(a) and (b) following the Closing, all covenants and
obligations required to be performed by Purchaser after the Closing in accordance with this
Agreement and any other Transaction Document to which Purchaser is a party, including by
causing Purchaser or an Affiliate of Parent to perform such covenant or obligation.

                                            ARTICLE XI

              ADDITIONAL DEFINITIONS AND INTERPRETIVE MATTERS

       11.1    Certain Definitions.

                       “Action” means any action, Claim (including a counterclaim, cross-claim,
or defense), complaint, grievance, summons, suit, litigation, arbitration, mediation, audit,
proceeding (including any civil, criminal, administrative, investigative or appellate proceeding),
prosecution, contest, hearing, inquiry, inquest, audit, examination or investigation, of any kind
whatsoever, regardless of the legal theory under which such Liability or obligation may be sought



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to be imposed, whether sounding in Contract or tort, or whether at law or in equity, or otherwise
under any legal or equitable theory, commenced, brought, conducted or heard by or before, or
otherwise involving, any Governmental Body or arbitrator.

                       “Advisors” means, with respect to any Person, any directors, officers,
employees, investment bankers, financial advisors, accountants, agents, attorneys, consultants, or
other representatives of such Person.

                       “Affiliate” means, with respect to any Person, any other Person that, directly
or indirectly through one or more intermediaries, controls, or is controlled by, or is under common
control with, such Person, and the term “control” (including the terms “controlled by” and “under
common control with”) means the possession, directly or indirectly, of the power to direct or cause
the direction of the management and policies of such Person, whether through ownership of voting
securities, by Contract or otherwise.

                      “Alternative Transaction” means any transaction or series of transaction to
sell the Acquired Assets (or subset thereof) to any third party other than Purchaser.

                    “Business Day” means any day other than a Saturday, Sunday or other day
on which banks in New York City, New York are authorized or required by Law to be closed.

                         “Cash and Cash Equivalents” means all of the Company’s cash (including
petty cash and checks received on the Closing Date), checking account balances, marketable
securities, certificates of deposits, time deposits, bankers’ acceptances, commercial paper, security
entitlements, securities accounts, commodity Contracts, commodity accounts, government
securities and any other cash equivalents, whether on hand, in transit, in banks or other financial
institutions, or otherwise held.

                       “Claim” has the meaning set forth in section 101(5) of the Bankruptcy Code.

                       “Code” means the United States Internal Revenue Code of 1986.

                     “Confidentiality Agreement” means that certain letter agreement, dated as
of May 14, 2020, by and between the Company and Bealls, Inc.

                     “Confirmation Order” means the Order Confirming the Joint Second
Amended Chapter 11 Plan of Stage Stores, Inc. and Specialty Retailers, Inc. entered by the
Bankruptcy Court at Docket No. 705.

                       “Consent” means any approval, consent, ratification, permission, waiver or
other authorization from any Person or Governmental Body, or an Order of the Bankruptcy Court
that deems or renders unnecessary the same.

                       “Contract” means any contract, purchase order, service order, sales order,
indenture, note, bond, lease, sublease, mortgage, agreement, guarantee, purchase order, license or
other agreement that is binding upon a Person or its property.




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                       “Customer Data” means rights in customer databases, loyalty records, and
marketing statistics, and any other information pertaining to, of, or about current customers of
Seller or the Social Media Accounts of Sellers; excluding, in each case data and rights in data
contained in such databases, records, and other information that has been provided to Sellers by
Lift360 and InfoGroup. For the avoidance of doubt, “Customer Data” shall not include data,
records, documentation, or other information relating to private-label credit cards.

                        “Documents” means all of the Company’s written files, documents,
instruments, papers, books, reports, records, tapes, microfilms, photographs, letters, budgets,
forecasts, plans, operating records, non-privileged safety and environmental reports, data, studies,
and documents prepared by a third party, Tax Returns, ledgers, journals, title policies, customer
lists, regulatory filings, operating data and plans, research material, technical documentation
(design specifications, engineering information, test results, maintenance schedules, functional
requirements, operating instructions, logic manuals, processes, flow charts, etc.), user
documentation (installation guides, user manuals, training materials, release notes, working
papers, etc.), marketing documentation (sales brochures, flyers, pamphlets, web pages, etc.), and
other similar materials, in each case whether or not in electronic form.

                        “Domain Names” means any domain names, web addresses, and internet
uniform resource locators registered to Sellers and understood by web servers and online networks
to provide pertinent destination information to visitors and users, including any accounts with
registrars, including all related passwords, controlled by Sellers to manage such domain names, as
further described on Schedule 11.1(p) attached hereto.

                        “Employee Obligations” means, in each case accrued prior to the Closing,
(i) any and all obligations under applicable Law or Contracts owed by a Seller to employees,
including without limitation, wages, salaries, commissions, accrued vacation, severance, sick leave
pay, and expense reimbursements, and (ii) any and all payroll and other taxes associated with (i),
including without limitation, federal income taxes, state and local income taxes, FICA, medicare,
and state disability insurance.

                        “Encumbrance” means any lien (as defined in section 101(37) of the
Bankruptcy Code), encumbrance, Claim, charge, mortgage, deed of trust, option, pledge, security
interest or other interest, hypothecations, easements, rights of way, encroachments, Orders and
conditional sale or other title retention agreements.

                        “Environmental Laws” all applicable Laws relating to the protection of the
environment or natural resources, including the use, handling, transportation, treatment, storage,
disposal, release or threat of release or discharge of Hazardous Materials.

                        “Equipment” means any and all equipment (including any software or
technology embedded in such equipment), machinery, systems, computers, hardware, furniture,
furnishings, fixtures, trade fixtures, office supplies, supply inventory, vehicles and all other fixed
assets, including spare, replacement and component parts.

                       “Final Order” means an order of the Bankruptcy Court (i) that was entered
after notice and a hearing to all parties entitled to notice of the Sale Motion and any other motion



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relating to the Acquired Assets, this Agreement or the transactions contemplated hereby; (ii) that
is not subject to a stay pending appeal; and (iii) as to which the time to appeal from, or to seek
review, rehearing, reconsideration, amendment or petition for certiorari of, has expired without a
pending appeal or application seeking review, rehearing, reconsideration, amendment or petition
for certiorari.

                      “Governmental Authorization” means any permit, license, certificate,
approval, consent, permission, clearance, designation, qualification or authorization issued,
granted, given or otherwise made available by or under the authority of any Governmental Body
or pursuant to any Law.

                      “Governmental Body” means any government, quasi-governmental entity,
or other governmental or regulatory body, agency or political subdivision thereof of any nature,
whether foreign, federal, state or local, or any agency, branch, department, official, entity,
instrumentality or authority thereof, or any court or arbitrator (public or private) of applicable
jurisdiction.

                       “Hazardous Substance” means any substance, material or waste that is
defined or regulated as “hazardous,” “toxic,” “radioactive,” a “pollutant,” a “contaminant” or
words of similar regulatory effect under any applicable Law due to its dangerous or deleterious
properties or characteristics, including asbestos, polychlorinated biphenyls, radioactive materials,
petroleum and petroleum by-products and distillates and per- and polyfluoroalkyl substances.

                        “Intellectual Property” means all of the following: (i) patentable inventions,
patents, patent applications and patent disclosures; (ii) trademarks, trade names, labels, brands,
service marks, trade dress and corporate names, registrations and applications for any of the
foregoing, together with all goodwill associated with each of the foregoing; (iii) rights in works of
authorship, copyright registrations and copyright applications; (iv) Domain Names; (v) trade
secrets; (vi) rights in computer software, website code, website content, and Social Media
Accounts; (vii) rights in drawings, schematics and other technical plans with respect to the Owned
Real Property; (viii) right of publicity; (ix) Customer Data; and (x) all other intellectual property
arising under the Laws of any jurisdiction.

                      “Knowledge of the Company”, “Company’s Knowledge” and words of
similar import mean the actual knowledge of the Company’s General Counsel, Chief Information
and Supply Chain Officer, and Chief Restructuring Officer, after reasonable inquiry.

                        “Law” means any federal, state, provincial, local, municipal, foreign or
international, multinational or other law, statute, legislation, constitution, principle of common
law, resolution, ordinance, code, edict, decree, proclamation, treaty, convention, rule, regulation,
ruling, directive, pronouncement, determination, decision, opinion or requirement issued, enacted,
adopted, promulgated, implemented or otherwise put into effect by or under the authority of any
Governmental Body.

                         “Liability” means, as to any Person, any debt, adverse claim, liability
(including any liability that results from, relates to or arises out of tort or any other product liability
claim), duty, responsibility, obligation, commitment, assessment, cost, expense, loss, expenditure,



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charge, fee, penalty, fine, contribution, or premium of any kind or nature whatsoever, whether
known or unknown, asserted or unasserted, absolute or contingent, direct or indirect, accrued or
unaccrued, liquidated or unliquidated, or due or to become due, and regardless of when sustained,
incurred or asserted or when the relevant events occurred or circumstances existed.

                        “Order” means any order, injunction, order, decree, ruling, writ, assessment
or arbitration award of a Governmental Body, including any order entered by the Bankruptcy Court
in the Bankruptcy Case (including the Sale Order).

                       “Ordinary Course” means the ordinary and usual course of operations of the
business of the Sellers taken as a whole consistent with past practice and taking into account the
commencement and pendency of the Bankruptcy Case.

                        “Permitted Encumbrances” means, only with respect to the Owned Real
Property, (i) Encumbrances for current Taxes not yet due and payable or that are being contested
in good faith, or the nonpayment of such Taxes which is permitted or required by the Bankruptcy
Code; (ii) easements, rights of way, restrictive covenants, encroachments and similar non-
monetary encumbrances or non-monetary impediments and other similar matters of record in each
case as disclosed in Schedule B of the Title Commitment, (iii) applicable zoning Laws, building
codes, land use restrictions and other similar restrictions imposed by Law which are not violated
by the current use or occupancy of the Owned Real Property, (iv) such other Encumbrances or title
exceptions as Purchaser may approve in writing in its sole discretion, and (v) any Encumbrances
that will be removed or released by operation of the Sale Order or the Plan.

                    “Person” means an individual, corporation, partnership, limited liability
company, joint venture, association, trust, unincorporated organization, labor union, estate,
Governmental Body or other entity or group.

                        “Plan” means the Joint Second Amended Chapter 11 Plan of Stage Stores,
Inc. and Specialty Retailers, Inc. filed at Docket No. 688 in the chapter 11 cases captioned In re
Stage Stores, Inc., et al., Case No. 20-32564 (including any plan supplement documents and any
schedules and exhibits attached thereto).

                       “Pre-Closing Tax Period” means any Tax period ending on or before the
Closing.

                       “Privacy Laws” means all applicable Laws concerning data protection,
privacy, security or other similar applicable Laws.

                     “Purchaser Group” means Purchaser, any Affiliate of Purchaser and each of
their respective former, current or future Affiliates, officers, directors, employees, partners,
members, managers, agents, Advisors, successors or permitted assigns.

                      “Sale Motion” means a motion filed by any of the Sellers in the Bankruptcy
Court, in form reasonably acceptable to Purchaser, seeking to sell the Acquired Assets to the
Purchaser free and clear of all liens, claims, Encumbrances, and liabilities of any kind or nature
whatsoever, whether at law or in equity, including without limitation, free and clear of any rights
or claims based on theories of transferee or successor liability under any applicable law, whether


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arising before or after the filing of the petitions for relief under chapter 11 of the Bankruptcy Code
by Sellers, save and excepting only those liabilities expressly assumed by Purchaser in writing
under this Agreement and Permitted Encumbrances on the Owned Real Property.

                      “Sale Order” means the Final Order in substantially the form set forth on
Exhibit E entered by the Bankruptcy Court approving the Sale Motion, as reasonably acceptable
to the Purchaser and Sellers.

                         “Seller Parties” means Sellers and each of their respective former, current,
or future Affiliates, officers, directors, employees, partners, members, equityholders, controlling
or controlled Persons, managers, agents, Advisors, successors or permitted assigns.

                        “Social Media Accounts” means the account registrations of Sellers with
social media platforms, including without limitation Facebook, Instagram, Pinterest, YouTube and
Twitter, including without limitation the goodwill, content, posts, traffic, and statistics associated
therewith, as well as the handle names, passwords, URLs, and direct links to each of such account
registrations, to the accounts listed on Schedule 11.1(mm).

                        “Subsidiary” or “Subsidiaries” means, with respect to any Person, any
corporation of which a majority of the total voting power of shares of stock entitled (without regard
to the occurrence of any contingency) to vote in the election of directors, managers or trustees
thereof is at the time owned or controlled, directly or indirectly, by such Person or one or more of
the other Subsidiaries of such Person or a combination thereof or any partnership, association or
other business entity of which a majority of the partnership or other similar ownership interest is
at the time owned or controlled, directly or indirectly, by such Person or one or more Subsidiaries
of such Person or a combination thereof.

                        “Tax” or “Taxes” means any federal, state, local, foreign or other income,
gross receipts, capital stock, franchise, profits, withholding, social security, unemployment,
disability, real property, ad valorem/personal property, stamp, excise, occupation, sales, use,
transfer, value added, import, export, alternative minimum or estimated tax, including any interest,
penalty or addition thereto.

                       “Tax Return” means any return, claim for refund, report, statement or
information return relating to Taxes required to be filed with a Governmental Body, including any
schedule or attachment thereto, and including any amendments thereof.

                      “Transaction Documents” means the Assignment and Assumption
Agreement, IP Assignment Agreements, the Deed, the Escrow Agreement and any other
agreements, documents, instruments or certificates expressly contemplated herein or therein to be
executed or delivered by a Party.

          11.2       Index of Defined Terms.


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       11.3 Rules of Interpretation. Unless otherwise expressly provided in this Agreement, the
following will apply to this Agreement, the Schedules and any other certificate, instrument,
agreement or other document contemplated hereby or delivered hereunder.

                        The terms “hereof,” “herein” and “hereunder” and terms of similar import
are references to this Agreement as a whole and not to any particular provision of this Agreement.
Section, clause, schedule and exhibit references contained in this Agreement are references to
sections, clauses, schedules and exhibits in or to this Agreement, unless otherwise specified. All
Exhibits and Schedules annexed hereto or referred to herein are hereby incorporated in and made
a part of this Agreement as if set forth in full herein. Any capitalized terms used in any Schedule
or Exhibit but not otherwise defined therein shall be defined as set forth in this Agreement.

                       Whenever the words “include,” “includes” or “including” are used in this
Agreement, they will be deemed to be followed by the words “without limitation.” Where the
context permits, the use of the term “or” will be equivalent to the use of the term “and/or.”

                                 The words “to the extent” shall mean “the degree by which” and not “if.”




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                       When calculating the period of time before which, within which or
following which any act is to be done or step taken pursuant to this Agreement, the date that is the
reference date in calculating such period will be excluded. If the last day of such period is a day
other than a Business Day, the period in question will end on the next succeeding Business Day.

                       Words denoting any gender will include all genders, including the neutral
gender. Where a word is defined herein, references to the singular will include references to the
plural and vice versa.

                      The word “will” will be construed to have the same meaning and effect as
the word “shall”. The words “shall,” “will,” or “agree(s)” are mandatory, and “may” is permissive.

                      All references to “$” and dollars will be deemed to refer to United States
currency unless otherwise specifically provided.

                       All references to a day or days will be deemed to refer to a calendar day or
calendar days, as applicable, unless otherwise specifically provided.

                      Any document or item will be deemed “delivered,” “provided” or “made
available” by the Company, within the meaning of this Agreement if such document or item (a) is
included in the Dataroom, (b) actually delivered or provided to Purchaser or any of Purchaser’s
Advisors or (c) made available upon request, including at any of the Sellers’ offices.

                     Any reference to any agreement or Contract will be a reference to such
agreement or Contract, as amended, modified, supplemented or waived.

                       Any reference to any particular Code section or any Law will be interpreted
to include any amendment to, revision of or successor to that section or Law regardless of how it
is numbered or classified; provided that, for the purposes of the representations and warranties set
forth herein, with respect to any violation of or non-compliance with, or alleged violation of or
non-compliance, with any Code section or Law, the reference to such Code section or Law means
such Code section or Law as in effect at the time of such violation or non-compliance or alleged
violation or non-compliance.

                       All references to a day or days shall be deemed to refer to a calendar day or
calendar days, as applicable, unless otherwise specifically provided.

                     A reference to any Party to this Agreement or any other agreement or
document shall include such Party’s successors and permitted assigns.

                                     [Signature pages follow.]




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        IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed by
their respective duly authorized officers as of the date first above written.


                                       BURKE’S DC TX, LLC


                                       By: ______________________________
                                       Name: Brian Crowley
                                       Title: Authorized Signatory



                                       BEALLS, INC.


                                       By: ______________________________
                                       Name: Brian Crowley
                                       Title: SVP & Chief Financial Officer




                     [Signature Page to Asset Purchase Agreement]
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                            EXHIBIT A


                       ESCROW AGREEMENT
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                       FIDELITY NATIONAL TITLE INSURANCE COMPANY

                                              ESCROW AGREEMENT


This Escrow Agreement made this 4th day of October 2020, by and among FIDELITY NATIONAL TITLE
INSURANCE COMPANY, hereinafter known as Escrow Agent, Burke’s DC TX, LLC, a Florida limited
liability company, hereinafter known as Purchaser, Stage Stores, Inc., a Nevada corporation, and Specialty
Retailers, Inc., a Texas corporation, hereinafter known as Seller.

Purchaser has tendered to Escrow Agent a check/wire in the amount of $700,000, (“the Escrow Fund”)
pursuant to an Asset Purchase Agreement by and between , Stage Stores, Inc., Seller and Purchaser dated
October 4, 2020 (the “Purchase Agreement”), in connection with the sale of certain assets, including
property located in Jacksonville, TX. In consideration of the acceptance of this tender, Escrow Agent,
Purchaser, and Seller agree as follows:

1. Deposit of Funds: All checks, money orders or drafts will be processed for collection in the normal
   course of business. Escrow Agent may commingle funds received by it in escrow with funds of others,
   and may, without limitation, deposit such funds in its custodial or escrow accounts with any reputable
   trust company, bank, savings bank, savings association, or other financial services entity, including any
   affiliate of Escrow Agent. It is understood that Escrow Agent shall be under no obligation, except to
   the extent expressly instructed in writing, to invest the Escrow Fund deposited with it on behalf of any
   depositor, nor shall it be accountable for any earnings or incidental benefit attributable to the Escrow
   Fund which may be received by Escrow Agent while it holds such funds. The Escrow Fund held by
   Escrow Agent shall be subject to the provisions of applicable state statutes governing unclaimed
   property.

     The Seller and Purchaser acknowledge that Escrow Agent’s duties are solely limited to the holding and
     disbursement of the Escrow Fund as set forth herein. Escrow Agent shall have no obligations,
     responsibilities or duties, fiduciary or otherwise, under this Escrow Agreement and shall incur no
     liability to either Seller or Purchaser pursuant to the terms hereof, unless and until the first deposit to
     the Escrow Fund is made by or on behalf of Purchaser.

     Furthermore, it is understood and agreed that the Escrow Agent is acting as a stakeholder only with
     respect to the Escrow Fund. It is agreed that the duties of the Escrow Agent are only as herein
     specifically provided, and are purely ministerial in nature.

2. Notice of Opportunity: Seller and Purchaser have the opportunity to earn interest on the Escrow Fund
   by requesting in writing that Escrow Agent set up an interest-bearing account under this Agreement.
   Receipt of a fully executed IRS Form W-9 is required prior to transfer of Escrow Fund to interest
   bearing account. Escrow Agent is not responsible for levies by taxing authorities based upon the
   taxpayer identification number used to establish the interest bearing account. Interest earned is
   dependent upon the amount of the deposit, the time of deposit and the prevailing interest rate at the
   time.

3. Release of Funds: The Escrow Agent shall hold the Escrow Fund when received by it in accordance
   with the terms of this Agreement and the Purchase Agreement. The Escrow Fund shall be paid in
   accordance with written instructions jointly executed by Seller and Purchaser or at the direction of the
   United States Bankruptcy Court for the Southern District of Texas, Houston Division (the “Bankruptcy




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   Court”). Signed approval by Seller and Purchaser of settlement statements or other accounting of funds
   shall constitute the authority to Escrow Agent to disburse funds as shown thereon.

   In the event of any disagreement between Seller and Purchaser resulting in conflicting instructions to,
   or adverse claims or demands upon the Escrow Agent with respect to the release of the Escrow Fund,
   the Escrow Agent shall refuse to comply with any such instruction, claim or demand so long as such
   disagreement shall continue, and in so refusing the Escrow Agent shall not release the Escrow Fund or
   make any other disposition of the Escrow Account, except Escrow Agent may interplead the Escrow
   Fund into the Bankruptcy Court. The Escrow Agent shall not be or become liable in any way to
   Purchaser or Seller for its failure or refusal to comply with any such conflicting instructions or adverse
   claims or demands, and it shall be entitled to continue so to refrain from acting until such conflicting
   or adverse demands (a) shall have been adjusted by agreement and Escrow Agent shall have been
   notified in writing thereof by Purchaser and Seller or (b) shall have finally been determined by the
   Bankruptcy Court.

4. Limitations of Liability: Escrow Agent shall not be liable for any loss or damage resulting from the
   following:

   a) The effect of the transaction underlying this Escrow Agreement, including without limitation any
      defect in the title to the real estate, any failure or delay in the surrender of possession of the property,
      the rights or obligations of any party in possession of the property, the financial status or insolvency
      of any other party, and/or any misrepresentations of fact made by any other party;
   b) The legal sufficiency of the document(s) purporting to transfer or otherwise encumber title to the
      real estate;
   c) The default, error, act or failure to act by any other party to the transaction underlying this Escrow
      Agreement;
   d) Any loss, loss of value or impairment of the Escrow Fund while in the course of collection or while
      on deposit in a depository institution if such loss, loss of value or impairment results from failure,
      insolvency or suspension of a depository institution;
   e) Any delay in the electronic wire transfer of funds;
   f) Any defects or conditions of title to any property that is the subject of the transaction underlying
      this Escrow Agreement provided, however, that this limitation of liability shall not affect the
      liability of Fidelity National Title Insurance Company under any title insurance policy which it has
      issued or may issue. NOTE: No title insurance liability is created by this Escrow Agreement;
   g) The expiration of any time limit or other consequences of delay, absent receipt by the Escrow Agent
      of a properly executed escrow instruction instructing Escrow Agent to comply with said time limit;
   h) Escrow Agent's compliance with any legal process including, but not limited to, subpoena, writs,
      orders, judgments and decrees of any court whether issued with or without jurisdiction and whether
      or not subsequently vacated, modified, set aside or reversed.

   Furthermore, in its capacity as Escrow Agent, Escrow Agent shall not be responsible for the
   genuineness or validity of any security, instrument, document or item deposited with it, and shall have
   no responsibility other than to faithfully follow the instructions contained herein and as jointly provided
   by Seller and Purchaser.

   Escrow Agent is fully protected in acting in accordance with any written instrument given to it
   hereunder by any of the parties hereto and believed by Escrow Agent to have been signed by the proper
   person(s). Escrow Agent may assume that any person purporting to give any notice(s) hereunder and
   representing that they have authority to do so have been duly authorized to do so.



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    The Seller and Purchaser each release the Escrow Agent from any act done or omitted to be done by
    the Escrow Agent in good faith in the performance of its duties hereunder.

    The terms of this section shall not be construed to limit Escrow Agent's liability for its own gross
    negligence or willful misconduct.

5. Accounting: Escrow Agent shall account to the parties for all funds received and disbursed hereunder
   at the time of final settlement and full disbursement of the Escrow Fund. Escrow Agent shall not be
   liable for the accuracy of information furnished to it by other persons in the normal course of business,
   or the failure to adjust items not designated in writing. Adjustment items shall be prorated on the basis
   of a calendar year and a thirty-day month. Escrow Agent shall account for adjustments, credits and
   charges of expense items according to the custom and usage of the community. Upon disbursement of
   the Escrow Fund, Escrow Agent shall be released and discharged of its obligations hereunder.

6. Fees, Charges and/or Other Expenses: Escrow Agent will be paid a fee of $__0__ for its services
   hereunder. Additionally, in the event that the Escrow Fund is not fully disbursed within 12 months
   from the date of this Agreement, Escrow Agent will be paid an additional fee of $_0___ per month.
   All fees will be charged against the Escrow Fund and will be deducted at the time of final disbursement.
   Additional amounts which may become due for any reason shall be promptly paid to Escrow Agent by
   the party owing such amounts.

7. Applicability: The conditions of this Escrow Agreement shall apply to and be for the benefit of agents,
   if any, of the Escrow Agent so employed by it for services in connection with the Agreement.

8. Attorneys' Fees: In the event that litigation is initiated relating to this Escrow Agreement, or the
   underlying transaction, the parties hereto agree that Escrow Agent shall be held harmless from any and
   all attorneys' fees, court costs and expenses, unless the litigation arises as a result of Escrow Agent's
   gross negligence or willful misconduct. Purchaser and Seller agree to indemnify Escrow Agent, as set
   forth in Paragraph 9 below, for all such attorneys' fees, court costs and expenses. To the extent that
   Escrow Agent holds an Escrow Fund under the terms of this Agreement, the parties agree that the
   Escrow Agent may charge the Escrow Fund with any such attorneys' fees, court costs and expenses as
   they are incurred by the Escrow Agent.

9. Indemnification: The Seller and the Purchaser shall jointly and severally indemnify, defend (with
   counsel acceptable to the Escrow Agent) and save harmless the Escrow Agent from and against all loss,
   cost, claim, liability, damage and expense, including reasonable attorneys’ fees and disbursements
   incurred in connection with the performance of the Escrow Agent’s duties hereunder, except with
   respect to actions or omissions taken or suffered by the Escrow Agent in bad faith, in willful disregard
   of this Escrow Agreement, or involving gross negligence on the part of the Escrow Agent (the
   “Indemnified Matters”). As between the Seller and Purchaser, the cost of such Indemnified Matters
   shall be shared equally, except to the extent Seller and Purchaser provide written agreement to Escrow
   Agent that costs shall be divided otherwise.

10. Escrow Accommodations: The parties to this Agreement acknowledge that the maintenance of escrow
    accounts with some depository institutions may result in Escrow Agent or its affiliates being provided
    with bank services, accommodations or other benefits by the depository institution. Escrow Agent or
    its affiliates also may elect to enter into other business transactions with or obtain loans for investment
    or other purposes from the depository institution. All such services, accommodations and other benefits
    shall accrue to Escrow Agent or its affiliates, and Escrow Agent or its affiliates shall have no obligation
    to account to the parties to this Agreement for the value of such services, accommodation or other
    benefits.

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11. Controlling Law: This Escrow Agreement shall be interpreted under the laws of the State of Delaware.

12. Entire Agreement: This Escrow Agreement contains the entire understanding between the parties
    hereto. No variations, modifications or changes hereof shall be binding upon any party hereto unless
    set forth in a document duly executed by all parties hereto.


                                       [Signature Page Follow]




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Seller: Specialty Retailers, Inc.                 Purchaser: Burke’s DC TX, LLC

By:    _______________________________            By:    _______________________________
Name:                                             Name: Brian F. Crowley
Title:                                            Title: Vice President
Address for Notices:                              Address for Notices:

______________________________________             PO Box 25207
                                                  ______________________________________

______________________________________            ______________________________________
                                                    Bradenton, FL 34206

                                                  Fidelity National Title Insurance Company

                                                  By: ________________________________
                                                  Name:
                                                  Title:
                                                  Address for Notices:
                                                  2701 Emerywood Parkway, Suite 200
                                                  Richmond, VA 23294




                                    [Signature Page to Escrow Agreement]
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                                                EXHIBIT B


                                     SPECIAL WARRANTY DEED




NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON, YOU MAY
REMOVE OR STRIKE ANY OF THE FOLLOWING INFORMATION FROM THIS
INSTRUMENT BEFORE IT IS FILED FOR RECORD IN THE PUBLIC RECORDS: YOUR
SOCIAL SECURITY NUMBER OR YOUR DRIVER’S LICENSE NUMBER

                                     SPECIAL WARRANTY DEED

THE STATE OF TEXAS               §
                                 §                KNOW ALL MEN BY THESE PRESENTS:
COUNTY OF ___________            §

          THAT _______________________, a ____________________ (“Grantor”), for and in
consideration of the sum of Ten and No/100 Dollars ($10.00) and other good and valuable consideration,
the receipt and sufficiency of which are hereby acknowledged, has GRANTED, BARGAINED, SOLD and
CONVEYED and by these presents does GRANT, BARGAIN, SELL and CONVEY unto
_________________________________ (“Grantee”), subject to the Permitted Encumbrances (as defined
below), that certain tract or parcel of land in ___________ County, Texas more particularly described on
Exhibit A attached to this deed and incorporated in it for all purposes, together with all rights, titles, and
interests appurtenant thereto (such land and interests are hereinafter collectively referred to as the
“Property”). In addition, Grantor hereby grants, sells and conveys to Grantee, all of Grantor’s right, title
and interest in and to (a) strips or gores, if any, between the Property and abutting properties, whether
owned or claimed by deed, limitations or otherwise, and whether or not they are located inside or outside
the Property, and (b) any land lying in or under the bed of any highway, avenue, street, road, alley, easement
or right-of-way, open or proposed, in, on, across, abutting or adjacent to the Property and any and all awards
made, or to be made in lieu thereof, for damage by reason of change in grade of any such highway, avenue,
street, road, alley, easement, or right-of-way.
        This Special Warranty Deed and the conveyance set out above is executed by Grantor and accepted
by Grantee subject to the matters described in Exhibit B attached hereto and incorporated herein by this
reference, to the extent the same are validly existing and applicable to the Property (“Permitted
Encumbrances”).
         Grantor hereby assigns and transfers to Grantee all claims and causes of action arising from or
relating to any Property Injury that may have occurred or originated prior to the date of this instrument.
“Property Injury” means any injury, damage or loss in value to the Property, including without limitation,
those arising from or related to any spill, leak or release of any hazardous or toxic substance (solid or
otherwise), hazardous waste, pollutant, oil or petroleum product, or other solid, liquid or gaseous substance
or product which is currently or hereinafter listed, regulated or designated by any state or federal
governmental agency as toxic, hazardous or harmful.
        TO HAVE AND TO HOLD the Property, together with all and singular the rights and
appurtenances thereunto in anywise belonging, unto Grantee, its successors and assigns forever, and
Grantor does hereby bind itself, its successors and assigns, to WARRANT AND FOREVER DEFEND all
and singular the title to the Property unto said Grantee, its successors and assigns, against every person
whomsoever lawfully claiming or to claim the same or any part thereof, by, through or under Grantor, but
not otherwise, subject only to the Permitted Encumbrances.

SPECIAL WARRANTY DEED                                                                                    PAGE
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       Ad valorem taxes for the year 20__ having been prorated, Grantee, by its acceptance of this Special
Warranty Deed, assumes payment thereof.




SPECIAL WARRANTY DEED                                                                                PAGE
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         EXECUTED this the _____ day of        , 20__.

                                          GRANTOR:


                                          _____________________________,
                                           __________________________




                                          By:
                                          Name:
                                          Title:


STATE OF __________           §
                              §
COUNTY OF               ___   §

       This instrument was acknowledged before me on this _____ day of ___________, 20__, by
       __________,                         of        ______________________________,       a
______________________________, on behalf of said _____________________________________.


[SEAL]                                    Notary Public in and for the
                                          STATE OF ____________




ADDRESS OF GRANTEE &
SEND TAX STATEMENTS TO:
_____________________
_____________________
_____________________
____________________


AFTER RECORDING RETURN TO:
_____________________
_____________________
_____________________
____________________




SPECIAL WARRANTY DEED                                                           SIGNATURE PAGE
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                                          EXHIBIT A
                                             TO
                                   SPECIAL WARRANTY DEED

                                     Description of the Property



Tract I (506 Beall Blvd.(a/k/a Bealls Blvd.), Jacksonville, TX)

All that certain lot, tract or parcel of land, being 27.554 acres in Block 27, Thomas Quevado
Survey, A-44, Cherokee County, Texas, and being more particularly described as follows:

(1) 28.121 acres described in Warranty Deed from the Jacksonville Industrial, Foundation, Inc., a
Texas Corporation to 3 Beall Brothers 3, Inc. dated November 6, 1984, recorded in Volume 935,
page 761 of the Land Records of Cherokee County, Texas.

Save and Except: 0.893 acres described in Warranty Deed from 3 Beall Brothers 3, Inc., a Texas
Corporation to S-TEN, Inc., a Texas Corporation, dated November 26, 1985, recorded in Volume
982, page 82 of the Land Records of Cherokee County, Texas.

And Save and Except: 0.8624 acres described in Warranty Deed from 3 Beall Brothers 3, Inc., to
the City of Jacksonville for street, dated August 4, 1986, recorded in Volume 1014, page 741 of
the Land Records of Cherokee County, Texas.

(2) 1.186 acres described in Warranty Deed from S-TEN, Inc., a Texas Corporation to 3 Beall
Brothers 3, Inc., a Texas Corporation dated November 26, 1985, recorded in Volume 982, page 85
of the Land Records of Cherokee County, Texas.

Begin at axle found at the northeast corner of 28.121 acres,

Thence South 00 degrees 45 minutes 02 seconds East, with fence along the east line of 28.121
acres, 549.45 feet to 3/8" steel rod set at creosoted fence corner post.

Thence South 00 degrees 29 minutes East, with fence, 333.18 feet to 6" creosoted post set in
concrete.

Thence South 00 degrees 19 minutes 23 seconds East, with fence, 100.00 feet to 3/8" steel rod set
in concrete at old creosoted fence corner post.

Thence South 00 degrees 51 minutes 3S seconds East, with fence, 258.43 feet to axle found at the
southeast corner of 28.121 acres

Thence South 89 degrees 18 minutes 35 seconds West, with old fence along the South line of
28.121 acres, 825.70 feet to 3/8" steel rod found at the southeast corner of Cecil Pond's 3.024 acres.

Thence North 00 degrees 26 minutes 25 seconds West, with the east line of said 3.024 acres, 209.41
feet to 3/8" steel rod found at the northeast corner of said 3.024 acres.

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Thence North 00 degrees 14 minutes 49 seconds East, with the east line of 0.8624 acres conveyed
to me City of Jacksonville, 60.00 feet to mark in concrete at the northeast corner of the same.

Thence North 89 degrees 40 minutes 46 seconds West, with the north line of 0.8624 acres, 626.07
feet to 3/8" steel rod at back of curb in the east margin of Elberta Street.

Thence North 00 degrees 14 minutes 49 seconds East, with the east margin of Elberta Street, 20.00
feet to 3/8" steel rod found at southwest corner of 0.893 acres sold to S-TEN, Inc.

Thence South 89 degrees 40 minutes 25 seconds East, with the south line of said 0.893 acres,
420.60 feet to 3/8" steel rod found bent at the southeast corner of said 0.893 acres.

Thence North 00 degrees 26 minutes 28 seconds West, with the east line of 0.893 acres, 96.80 feet
to 3/8" steel rod found bent at the northeast corner of 0.893 acres.

Thence North 00 degrees 26 minutes 28 seconds West, with the west line of 1.186 acres conveyed
by S-TEN, Inc., to 3 Beall Brothers 3, 252.72 feet to 3/8" steel rod found bent at the northwest
corner of 1.186 acres and the southeast corner of 2.00 acres owned by Ten Quality Corporation.

Thence North 00 degrees 26 minutes 28 seconds West, with the east line of said 2.00 acres, 208.70
feet to 3/8" steel rod found at the northeast corner of the same.

Thence South 89 degrees 11 minutes 26 seconds West, at 208.71 feet pass 3/8" steel rod found and
at 417.42 feet to 3/8" steel rod found in the east margin of Elberta Street.

Thence North 00 degrees 26 minutes 28 seconds West, with the east margin of Elberta Street,
60.00 feet to 3/8" steel rod found at the southwest corner of 5.00 acres sold to W.F.C. Company,
Inc., DBA Warminster Fiberglass Company.

Thence North 89 degrees 11 minutes 26 seconds East, with the south line of said 5.00 acres 622.00
feet to Hurricane fence corner at the southeast corner of said 5.00 acres.

Thence North 00 degrees 26 minutes 34 seconds West, with Hurricane fence, 350.00 feet to 3/8"
steel rod found at the northeast corner of said 5.00 acres in old fence, at the most northerly
northwest corner of said 28.121 acres.

Thence with old fence along the north line of said 28.121 acres as follows;

North 89 degrees 11 minutes 15 seconds East, 187.25 feet;

North 89 degrees 13 minutes 58 seconds East, 322.93 feet;

South 86 degrees 44 minutes 21 seconds East, 311.29 feet to the place of beginning, containing
27.5544 acres.

Tract II (Beall Blvd., a/k/a Bealls Blvd., Jacksonville, TX)

All that certain tract or parcel of land situated in Block No. 27, Thomas Quevado Three League
Grant, Abstract No. 44, Cherokee County, Texas, being all of that certain called 14 acre tract,

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described in a Warranty Deed from Cecil J. Rhodes, Jr. and wife Martha J. Rhodes to Wesley
Beard dated April 20, 1999, recorded in Volume 1421, Page 98 of the Real Property Records of
Cherokee County, Texas, and being more particularly described by metes and bounds as follows:

BEGINNING at a 3/8" iron rod found for the southwest corner of said Wesley Beard called 14
acre tract, and being in the east line of Martin Luther King Boulevard (also known as Elberta
Street);

THENCE, North 00° 11' 42" West, with said east line of Martin Luther King Boulevard, a distance
of 450.58 feet to a steel axle found for a corner of the herein described tract;

THENCE, South 89°42'11" East, a distance of 594.62 feet to a 3/8" iron rod found for a corner of
the herein described tract;

THENCE, North 89°54'18" East, a distance of 34.13 feet to a 3/8" iron rod found for a corner of
the herein described tract;

THENCE, North 89°18'35" East, a distance of 826.44 feet (same being the bearing basis of this
survey as related to the record bearing as described in Volume 1527, Page 5 of said Real Property
Records) to a steel axle found for the northeast corner of said Wesley Beard tract, same being the
northeast corner of the herein described tract;

THENCE, South 00°36'40" East, a distance of 449.86 feet to a 3/8" iron rod found for the southeast
corner of the herein described tract;

THENCE, South 89°41'54" West, a distance of 1458.41 feet to the POINT OF BEGINNING and
containing 14.954 acres of land.




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                                                EXHIBIT C


                                         OWNER’S AFFIDAVIT


                          SELLER'S-BORROWER'S AFFIDAVIT AS TO
                              DEBTS, LIENS, AND POSSESSION


GF No.:              SAT-41-4000412002218, issued by Fidelity National Title Insurance Company (the “Title
                     Commitment”)
PROPERTY:            506 Beall (a/k/a Bealls) Blvd., Jacksonville, TX
UNDERWRITER: Fidelity National Title Insurance Company

STATE OF             TEXAS
COUNTY OF            Cherokee
Before me, the undersigned authority on this day personally appeared the undersigned, personally known
to me to be the person whose name is subscribed hereto and upon his/her oath deposes and says and
represents to Underwriter that he/she has knowledge of the facts contained herein, that he/she is authorized
to make this affidavit, and further states that to the undersigned’s actual knowledge:
1. The undersigned has not received any written notice of unpaid debts for plumbing fixtures, water
   heaters, floor furnaces, air conditioners, radio or television antennae, carpeting, rugs, lawn sprinkling
   systems, venetian blinds, window shades, draperies, electric appliances, fences, street paving, or any
   personal property or fixtures that are located on the Property described above, and that no such items
   have been purchased on time payment contracts, and there are no security interest on such Property
   secured by financing statements, security agreements or otherwise except the following:
          Secured Party                                                 Approximate Amount



2. The undersigned has not received any written notice of unpaid loans or liens (including Federal or State
   Liens and Judgments Liens) of any kind on such Property except the following:
          Creditor                                                      Approximate Amount



    All labor and material used in the construction of improvements on the above described Property have
    been paid for and there are now no unpaid labor or material claims against the improvements or the
    property upon which same are situated EXCEPT:


3. There are no parties in possession of the Property (other than current owner) and no leases have been
   executed except pursuant to any exceptions shown on Schedule B to the Title Commitment and as
   follows:




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4. The undersigned has not received any written notice of unpaid fees for appraisals of the Property that
   are claimed, earned or payable, (whether arising out of any prior transaction or the current transaction),
   except as follows:


5. The undersigned has not received any written notice of unpaid broker's commissions or similar fees
   that are claimed, earned or payable with regard to the Property (whether arising out of any lease, prior
   transaction or the current transaction), except as follows:


The undersigned has not received any written notice of unpaid paving liens of any kind or character or
claims for paving outstanding against the above described property.
I/We further state:
    This affidavit is made to Underwriter as an inducement to it to complete this transaction, and I/We
    realize that Underwriter is relying upon the representations contained herein; and the undersigned does
    hereby swear under the penalties of perjury that the foregoing information is true and correct in all
    respects. I/We further covenant and agree with Underwriter forever fully to protect, defend and save
    harmless Underwriter from and against all loss, costs, damages, and attorney’s fees and expenses of
    every kind and nature which it may suffer, expend or incur under or by reason, or in consequence of,
    reliance upon the representations herein.

                                             Signatures Follow




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Specialty Retailers, Inc., a Texas corporation, as
successor by merger to Specialty Retailers (TX) LP, a
Texas limited partnership
                                                                 Date
BY:________________________________



State of
_________________________ of _________________________

Subscribed and sworn to (or affirmed) before me on this _________________________, by
                          as                                     of Specialty Retailers, Inc., a Texas
corporation, as successor by merger to Specialty Retailers (TX) LP, a Texas limited partnership, a Texas
corporation, on behalf of said corporation.

                  (Personalized Seal)

                                                        Notary Public's Signature




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                                                 EXHIBIT D


           BILL OF SALE AND ASSIGNMENT AND ASSUMPTION AGREEMENT


THIS BILL OF SALE AND ASSIGNMENT AND ASSUMPTION AGREEMENT (the “Assignment”) is
made and entered into this ____ day of __________, 2020 by and between
         (“Assignor”), and                                        (“Assignee”). All capitalized terms not
defined herein shall have the meaning set forth in the Agreement.

                                               R E C I T A L S:

         WHEREAS, Assignor and Assignee entered into that certain Asset Purchase Agreement, dated
_______________, 2020, (the “Agreement”), for the purchase and sale of certain property located at 506
Beall Boulevard, Jacksonville, Texas, all appurtenances thereto and improvements thereon, permits related
thereto, certain tangible and intangible personal property, and certain intellectual property; and

      WHEREAS, in connection with the consummation of the transaction contemplated under the
Agreement, Assignor and Assignee desire to execute this Assignment.

         NOW, THEREFORE, in consideration of good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, the parties agree as follows:

          1.      Recitals. The foregoing recitals are hereby incorporated in the body of this Assignment as
if fully rewritten and restated herein.

         2.      Intangible Personal Property; Personal Property. Assignor hereby sells, transfers and
conveys unto Assignee, all right, title and interest in and to all of the Intangible Personal Property and all
Personal Property, free and clear of all Encumbrances. Except as provided in (and subject to the limitations
of) the Agreement, the Intangible Personal Property and Personal Property are sold, transferred and
conveyed by Assignor to Assignee (i) on an “AS-IS,” “WHERE-IS,” “WITH ALL FAULTS” basis, and
(ii) without any warranties, representations or guaranties, either express or implied, of any kind, nature or
type whatsoever, including, but not limited to, any warranty as to the fitness for a particular purpose or
merchantability of the Personal Property.

         3.       Permits. Assignor hereby sells, transfers and conveys unto Assignee, all right, title and
interest in and to all of the rights, interests and benefits accruing under all Permits with respect to the Owned
Real Property, and all pending applications therefor, free and clear of all Encumbrances. Except as provided
in (and subject to the limitations of) the Agreement, the Permits are sold, transferred and conveyed by
Assignor to Assignee (i) on an “AS-IS,” “WHERE-IS,” “WITH ALL FAULTS” basis, and (ii) without any
warranties, representations or guaranties, either express or implied, of any kind, nature or type whatsoever.

         4.       Intellectual Property. Assignor hereby sells, transfers and conveys unto Assignee, all right,
title and interest in and to all Intellectual Property (and all goodwill associated therewith), all rights to
collect royalties and proceeds in connection therewith with respect to the period from and after the Closing,
all rights to sue and recover for past, present and future infringements, dilutions, misappropriations of, or
other conflicts with, such Intellectual Property and any and all corresponding rights or Actions that, now or
hereafter, may be secured throughout the world, free and clear of all Encumbrances. Except as provided in
(and subject to the limitations of) the Agreement, the Intellectual Property is sold, transferred and conveyed
by Assignor to Assignee (i) on an “AS-IS,” “WHERE-IS,” “WITH ALL FAULTS” basis, and (ii) without


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any warranties, representations or guaranties, either express or implied, of any kind, nature or type
whatsoever.

         5.      Assumption of Obligations. After the date hereof, Assignee hereby assumes and shall be
responsible for and shall perform solely the Assumed Liabilities, to the extent such obligations first arise
after the date hereof.

       6.      Counterparts. This Assignment may be executed in one or more identical counterparts, all
of which, when taken together shall constitute one and the same instrument.

        7.       Governing Law. This Assignment shall be governed by and construed in accordance with
the laws of the State of Texas.

        8.       Partial Invalidity. The provisions hereof shall be deemed independent and severable, and
the invalidity or enforceability of any one provision shall not affect the validity or enforceability of any
other provision hereof.

                  [REMAINDER OF THIS PAGE INTENTIONALLY LEFT BLANK]




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       IN WITNESS WHEREOF, Assignor and Assignee have executed this Assignment on the date first
above written.


                                                ASSIGNOR:

                                                ______________________________________

                                                By:
                                                Name:
                                                Its:


                      [SIGNATURES CONTINUE ON FOLLOWING PAGE]




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                                     ASSIGNEE:

                                     __________________________________


                                     By:
                                     Name:
                                     Its:




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                                                                              Execution Version


                                  AMENDMENT NO. 1
                           TO ASSET PURCHASE AGREEMENT

        This AMENDMENT NO. 1 TO ASSET PURCHASE AGREEMENT
(this “Amendment”), dated as of October 8, 2020, is made and entered into by and among
Burke’s DC TX, LLC, a Florida limited liability company (“Purchaser”), Bealls, Inc., a Florida
corporation (“Parent”), Stage Stores, Inc., a Nevada corporation (the “Company”), and its
Subsidiary, Specialty Retailers, Inc., a Texas corporation (together with the Company,
the “Sellers”). Capitalized terms used but not defined herein shall have the meanings assigned to
them in the Agreement (as defined below).

        WHEREAS, reference is made to that certain Asset Purchase Agreement, dated as of
October 4, 2020, between Purchaser, the Sellers and, solely for purposes of Section 10.20
thereof, Parent (the “Agreement”); and

       WHEREAS, Purchaser and the Sellers desire to amend the Schedules and Exhibits
pursuant to, and in accordance with, Section 10.5 of the Agreement as set forth herein.

       NOW, THEREFORE, the Parties hereby agree as follows:

        1.     Amendment to the Schedules and Exhibits. Schedule 1.1(a) of the Disclosure
Letter is hereby amended by removing the reference and related description to Tract III (1020
Willowcreek Dr., Jacksonville, TX) thereon. Additionally, Exhibit A of the Deed attached to the
Agreement as Exhibit B is hereby amended by removing the reference and related description to
Tract III (1020 Willowcreek Dr., Jacksonville, TX) thereon. For avoidance of doubt, the entirety
of the Sellers Disclosure Letter and all other Schedules required by the Agreement are attached
hereto as Attachment A.

        2.     Effect of the Amendment. Except as expressly provided in this Amendment, all
of the terms and provisions of the Agreement (including Exhibits) and the Schedules are and will
remain in full force and effect and are hereby ratified and confirmed by Purchaser and the
Sellers. On and after the date hereof, each reference in the Agreement to “the Schedules,”
“thereunder,” “thereof,” “therein” or words of like import, and each reference to the Schedules in
any other agreements, documents or instruments executed and delivered pursuant to, or in
connection with, the Transaction Documents, will mean and be a reference to the Schedules as
amended by this Amendment.

       3.     Miscellaneous. Sections 10.6, 10.9, 10.13, 10.14 and 10.15 of the Agreement are
hereby incorporated herein by reference mutatis mutandis.

                                    [Signature pages follow.]
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        IN WITNESS WHEREOF, the Parties have caused this Amendment to be executed by
their duly authorized officers as of the date first above written.

                                            BURKE’S DC TX, LLC



                                            By:
                                            Name: Brian Crowley
                                            Title: Authorized Signatory



                                            BEALLS, INC



                                            By:
                                            Name: Brian Crowley
                                            Title: SVP & Chief Financial Officer




                 [Signature Page to Amendment No. 1 to Asset Purchase Agreement]
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                           Attachment A

                            [see attached]
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                                                                                      FINAL VERSION


                              SELLER DISCLOSURE SCHEDULES

        This Disclosure Letter is made and given pursuant to that certain Asset Purchase Agreement, dated
as of October 4, 2020 (the “Agreement”), by and among Burke’s DC TX, LLC, a Florida limited liability
company (“Purchaser”), Stage Stores, Inc., a Nevada corporation (the “Company”), and its Subsidiary,
Specialty Retailers, Inc., a Texas corporation (together with the Company, each a “Seller” and collectively
“Sellers”). Capitalized terms used but not otherwise defined herein shall have the meanings ascribed thereto
in the Agreement.

        Reference is made herein to Section 10.10 of the Agreement, which is incorporated herein for all
purposes.




                                     [remainder of page intentionally blank]




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                                          Schedule 1.1(a)

                                                Land

Tract I (506 Beall Blvd.(a/k/a Bealls Blvd.), Jacksonville, TX)

All that certain lot, tract or parcel of land, being 27.554 acres in Block 27, Thomas Quevado
Survey, A-44, Cherokee County, Texas, and being more particularly described as follows:

(1) 28.121 acres described in Warranty Deed from the Jacksonville Industrial, Foundation, Inc., a
Texas Corporation to 3 Beall Brothers 3, Inc. dated November 6, 1984, recorded in Volume 935,
page 761 of the Land Records of Cherokee County, Texas.

Save and Except: 0.893 acres described in Warranty Deed from 3 Beall Brothers 3, Inc., a Texas
Corporation to S-TEN, Inc., a Texas Corporation, dated November 26, 1985, recorded in Volume
982, page 82 of the Land Records of Cherokee County, Texas.

And Save and Except: 0.8624 acres described in Warranty Deed from 3 Beall Brothers 3, Inc., to
the City of Jacksonville for street, dated August 4, 1986, recorded in Volume 1014, page 741 of
the Land Records of Cherokee County, Texas.

(2) 1.186 acres described in Warranty Deed from S-TEN, Inc., a Texas Corporation to 3 Beall
Brothers 3, Inc., a Texas Corporation dated November 26, 1985, recorded in Volume 982, page 85
of the Land Records of Cherokee County, Texas.

Begin at axle found at the northeast corner of 28.121 acres,

Thence South 00 degrees 45 minutes 02 seconds East, with fence along the east line of 28.121
acres, 549.45 feet to 3/8" steel rod set at creosoted fence corner post.

Thence South 00 degrees 29 minutes East, with fence, 333.18 feet to 6" creosoted post set in
concrete.

Thence South 00 degrees 19 minutes 23 seconds East, with fence, 100.00 feet to 3/8" steel rod set
in concrete at old creosoted fence corner post.

Thence South 00 degrees 51 minutes 3S seconds East, with fence, 258.43 feet to axle found at the
southeast corner of 28.121 acres

Thence South 89 degrees 18 minutes 35 seconds West, with old fence along the South line of
28.121 acres, 825.70 feet to 3/8" steel rod found at the southeast corner of Cecil Pond's 3.024 acres.

Thence North 00 degrees 26 minutes 25 seconds West, with the east line of said 3.024 acres, 209.41
feet to 3/8" steel rod found at the northeast corner of said 3.024 acres.

Thence North 00 degrees 14 minutes 49 seconds East, with the east line of 0.8624 acres conveyed
to me City of Jacksonville, 60.00 feet to mark in concrete at the northeast corner of the same.



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Thence North 89 degrees 40 minutes 46 seconds West, with the north line of 0.8624 acres, 626.07
feet to 3/8" steel rod at back of curb in the east margin of Elberta Street.

Thence North 00 degrees 14 minutes 49 seconds East, with the east margin of Elberta Street, 20.00
feet to 3/8" steel rod found at southwest corner of 0.893 acres sold to S-TEN, Inc.

Thence South 89 degrees 40 minutes 25 seconds East, with the south line of said 0.893 acres,
420.60 feet to 3/8" steel rod found bent at the southeast corner of said 0.893 acres.

Thence North 00 degrees 26 minutes 28 seconds West, with the east line of 0.893 acres, 96.80 feet
to 3/8" steel rod found bent at the northeast corner of 0.893 acres.

Thence North 00 degrees 26 minutes 28 seconds West, with the west line of 1.186 acres conveyed
by S-TEN, Inc., to 3 Beall Brothers 3, 252.72 feet to 3/8" steel rod found bent at the northwest
corner of 1.186 acres and the southeast corner of 2.00 acres owned by Ten Quality Corporation.

Thence North 00 degrees 26 minutes 28 seconds West, with the east line of said 2.00 acres, 208.70
feet to 3/8" steel rod found at the northeast corner of the same.

Thence South 89 degrees 11 minutes 26 seconds West, at 208.71 feet pass 3/8" steel rod found and
at 417.42 feet to 3/8" steel rod found in the east margin of Elberta Street.

Thence North 00 degrees 26 minutes 28 seconds West, with the east margin of Elberta Street,
60.00 feet to 3/8" steel rod found at the southwest corner of 5.00 acres sold to W.F.C. Company,
Inc., DBA Warminster Fiberglass Company.

Thence North 89 degrees 11 minutes 26 seconds East, with the south line of said 5.00 acres 622.00
feet to Hurricane fence corner at the southeast corner of said 5.00 acres.

Thence North 00 degrees 26 minutes 34 seconds West, with Hurricane fence, 350.00 feet to 3/8"
steel rod found at the northeast corner of said 5.00 acres in old fence, at the most northerly
northwest corner of said 28.121 acres.

Thence with old fence along the north line of said 28.121 acres as follows;

North 89 degrees 11 minutes 15 seconds East, 187.25 feet;

North 89 degrees 13 minutes 58 seconds East, 322.93 feet;

South 86 degrees 44 minutes 21 seconds East, 311.29 feet to the place of beginning, containing
27.5544 acres.

Tract II (Beall Blvd., a/k/a Bealls Blvd., Jacksonville, TX)

All that certain tract or parcel of land situated in Block No. 27, Thomas Quevado Three League
Grant, Abstract No. 44, Cherokee County, Texas, being all of that certain called 14 acre tract,
described in a Warranty Deed from Cecil J. Rhodes, Jr. and wife Martha J. Rhodes to Wesley



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Beard dated April 20, 1999, recorded in Volume 1421, Page 98 of the Real Property Records of
Cherokee County, Texas, and being more particularly described by metes and bounds as follows:

BEGINNING at a 3/8" iron rod found for the southwest corner of said Wesley Beard called 14
acre tract, and being in the east line of Martin Luther King Boulevard (also known as Elberta
Street);

THENCE, North 00° 11' 42" West, with said east line of Martin Luther King Boulevard, a distance
of 450.58 feet to a steel axle found for a corner of the herein described tract;

THENCE, South 89°42'11" East, a distance of 594.62 feet to a 3/8" iron rod found for a corner of
the herein described tract;

THENCE, North 89°54'18" East, a distance of 34.13 feet to a 3/8" iron rod found for a corner of
the herein described tract;

THENCE, North 89°18'35" East, a distance of 826.44 feet (same being the bearing basis of this
survey as related to the record bearing as described in Volume 1527, Page 5 of said Real Property
Records) to a steel axle found for the northeast corner of said Wesley Beard tract, same being the
northeast corner of the herein described tract;

THENCE, South 00°36'40" East, a distance of 449.86 feet to a 3/8" iron rod found for the southeast
corner of the herein described tract;

THENCE, South 89°41'54" West, a distance of 1458.41 feet to the POINT OF BEGINNING and
containing 14.954 acres of land.




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                                   Schedule 1.1(e)

                                 Personal Property

        Double pallet riders                     15
        Single rider
        Reach trucks                             3
        Order picker                             5
        Sit‐down forklift                        9
        Stand‐up forklift                        2
        Yard trucks                              2
        Day‐cab tractor                          1
        Bailers                                  3
        Boom lifts                               1
        Scissor lifts                            2
        Box truck                                1
        Registered over‐the‐road trailers        10



        Slat Sorter                              2
        Tilt Sorter                              4
        GOH Sorter                               1
        Pouch sorter                             1
        PandA                                    2



       Equipment Chargers                       39
       Pallet Jacks                             80
       Hand Trucks                              15
       Storage Trailers                         15



                                 Truck Listing By Vin #
                                                           Truck     Title     Title
        Make                     VIN #                     Type     Found    Location
                                                           Yard
       Capacity           4LMBF21155L016241               Jockey     Yes       JAX
                                                           Yard
       Capacity           4LMBF51167L018599               Jockey     Yes       JAX
                                                            Box
     International       1HTSDAAM0TH378462                 Truck     Yes      WLS
                                                            Day
                                                            Cab
                                                          Tractor
     Freightliner         1DTV11523VA253972                Truck     No        TBD


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                                               Title       Title
                       OTR Trailers           Found      Location
                          VIN #
                   1DW1A281125550402            Yes        JAX
                   1DTV11525WA265283            Yes        JAX
                   1DTV11525WA265235            Yes        JAX
                   1DTV11521WA265412            Yes        JAX
                   1DTV11522WA253029            No         TBD
                   1TV11522XTA247485            Yes        JAX
                   1DTV11523WA265217            Yes        JAX
                   1JJV532W$WL492413            Yes        JAX
                   1DTV11523VA253972            Yes        JAX
                   1DW1A281X25550401            Yes        JAX

                                               Title       Title
                      Storage Trailers        Found      Location
                           VIN #
                  3AEVS5327WM011461             No         N/A
                   1H2V0532XTF050001            No         N/A
                  1DTV11W26HA177909             No         N/A
                   1UYVS25318P432809            No         N/A
                   1JSV532T3VL423765            No         N/A
                    1JJV532T0VL423657           No         N/A
                   1GRAA942XLS045303            No         N/A
                   1H2V04825GE032496            No         N/A
                  1DTV11529WA264685             No         N/A
                  1NNDA5322YM327096             No         N/A
                    DTV11Z22KA189977            Yes        WLS
                  1DW1A4826RS849317             Yes        WLS
                     T14827FB902012             No         N/A
                  1DTV11W25EA163480             Yes        WLS
                  1DTV11Z20MA199667             Yes        WLS



                         Equipment Listing by Serial #
    Brand              Serial #                               Machine Type
Raymond              8411210314                Double Fork Lifts
Raymond              8100661725                Double Fork Lifts
Raymond              8400670075                Double Fork Lifts
Raymond              8400664717                Double Fork Lifts
Raymond              8411210373                Double Fork Lifts
Raymond              8101187463                Double Fork Lifts
Raymond              8411421109                Double Fork Lifts
Raymond              8401187422                Double Fork Lifts
Raymond              8400664721                Double Fork Lifts
Raymond              8400666284                Double Fork Lifts
Raymond              8411421117                Double Fork Lifts


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Raymond               8400669408        Double Fork Lifts
Raymond               8400664381        Double Fork Lifts
Toyota                8HBE3041208       Double Fork Lifts
Toyota                6HBE3021512       Double Fork Lifts


JLG Lift            895810300041831     Boom Lift


Genie                Style # GS1930     Scizzor Lift
Genie                Style # GS2032     Scizzor Lift


Raymond                SA0203113        Reach Truck ‐ Man Up
Raymond                SA0203114        Reach Truck ‐ Man Up
Raymond                SB0601215        Reach Truck ‐ Man Up


Raymond               RTW0502149        Sit Down Fork Lifts
Raymond               RTW0502303        Sit Down Fork Lifts
Raymond              RTW030401678       Sit Down Fork Lifts
Raymond               4451311619        Sit Down Fork Lifts
Raymond               4400810469        Sit Down Fork Lifts
Raymond               4451010082        Sit Down Fork Lifts
Raymond               4400710171        Sit Down Fork Lifts
Raymond               4451412161        Sit Down Fork Lifts
Raymond               4451210923        Sit Down Fork Lifts


Raymond               74006CA5822       Stand Up Fork Lifts
Toyota                   30465          Stand Up Fork Lifts


Raymond               54008A07245       Order Pickers
Raymond               54008A07246       Order Pickers
Raymond              EASI00AE26123      Order Pickers
Raymond              EASI05AE36177      Order Pickers
Raymond              EASI05AE36176      Order Pickers




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                               Schedule 3.3(a)

                               Seller Conflicts

None.




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                               Schedule 3.3(b)

                               Seller Consents

None.




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                                                    Schedule 3.5

                                                Insurance Policies



Carrier                                       Coverage                         Policy Number
Curotech Specialty, Inc.                      All-Risk Property - Primary      CSXFQP0000104‐00
RSUI Group, Inc                               All-Risk Property - Excess       LHD914943
Arch Insurance Company                        Business Auto                    41CAB0515804
Arch Insurance Company                        General Liability                41GPP0515704
Travelers Property Casualty Company Of        Umbrella Liability               ZUP-16N51251-20-NF
America
Ace Property And Casualty Insurance Company   Excess Umbrella                  XCQG71517123 002
American Guarantee And Liability Insurance    Excess Umbrella                  AEC0593761-01
Company
North American Specialty                      Workers’ Compensation (TX Non-   EPG1000026-11
                                              Subscriber)




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                                       Schedule 3.9(a)

                               Company Intellectual Property

Trademarks: See attached.

Domains: Schedule 11.1(p) is incorporated herein by reference.

Social Media Accounts: Schedule 11.1(mm) is incorporated herein by reference.




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                                     SPECIALTY RETAILERS, INC
                    STATUS CHART OF TRADEMARK REGISTRATION AND APPLICATIONS


                                         REGISTERED TRADEMARKS

SERIAL NO.        MARK         FILING DATE                 CLASS/                                    STATUS                     LIENS
 REG. NO.                       REG. DATE         GOODS & SERVICES
 73/560,559      BEALLS          09/27/1985   Class 42 - Retail store services for    10/31/2029 - Section 8 & 9 Renewal Due      *
  1,563,887                      10/31/1989        clothing, shoes, jewelry,                   (cancellation pending)
                                               accessories, cosmetics and other
                                                          soft goods
 74/177,847    CAPE CLASSIC     06/20/1991            Class 14 – Jewelry              04/28/2022 - Section 8 & 9 Renewal Due
  1,684,402                     04/28/1992
 86/248,192    CLUB 50 PLUS     04/10/2014     Class 35 – Retail store services in    05/26/2021 – Section 8 & 15 Renewal Due
  4,742,049                     05/26/2015    the field of clothing, shoes, fashion    05/26/2025 – Section 8 & 9 Renewal Due
                                                    accessories and clothing
                                                accessories; administration of a
                                               program for enabling participants
                                                to obtain discounts on products,
                                                membership club services in the
                                                nature of providing discounts to
                                               members in the field of clothing,
                                                 shoes and fashion accessories;
                                                 customer loyalty program for
                                                commercial, promotional and/or
                                                      advertising purposes
 75/876,367                     12/21/1999     Class 35 – Retail department store     03/12/2022 – Section 8 & 9 Renewal Due     **
  2,548,132                     03/12/2002                   services

 75/865,607    G SOMETHING      12/06/1999    Class 35 – Retail department store      10/22/2022 – Section 8 & 9 Renewal Due     **
  2,640,229    UNEXPECTED       10/22/2002                services
 78/520,863      GIVE THE       11/22/2004    Class 35 – Retail department store      01/17/2026 – Section 8 & 9 Renewal Due     **
  3,045,751    UNEXPECTED       01/17/2006                services
 76/050,225       GOODY’S       05/17/2000     Class 35 – Retail clothing store       01/15/2022 – Section 8 & 9 Renewal Due
  2,529,306                     01/15/2002                services
 73/767,438   GOODY’S FAMILY    12/05/1988     Class 42 – Retail clothing store       07/10/2030 – Section 8 & 9 Renewal Due
  1,606,015     CLOTHING        07/10/1990                services

                                                                                                                                      12
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SERIAL NO.         MARK          FILING DATE                CLASS/                                   STATUS                      LIENS
 REG. NO.                         REG. DATE         GOODS & SERVICES
 75/807,968     GORDMAN’S          09/27/1999   Class 35 – Retail department store     08/22/2020 – Section 8 & 9 Renewal Due     **
  2,379,498                        08/22/2000               services                    (filed – acceptance from USPTO not yet
                                                                                                        received)
 87/556,653       gRewards        08/04/2017       Class 35 – Retail store services         04/10/2024 – Section 8 & 15 Due
  5,442,645                       04/10/2018     featuring clothing, shoes, fashion
                                                      accessories and clothing
                                                  accessories; administration of a
                                                 program for enabling participants
                                                  to obtain discounts on products;
                                                  membership club services in the
                                                  nature of providing discounts to
                                                 members in the field of clothing,
                                                   shoes and fashion accessories;
                                                    customer loyalty program for
                                                  commercial promotional and/or
                                                        advertising purposes
 73/660,672       HANNAH          05/14/1987    Class 25 – Women’s ready to wear       02/02/2028 – Section 8 & 9 Renewal Due      *
  1,475,067                       02/02/1988       apparel, namely slacks, skirts,
                                                 blouses, sweaters, jackets, coats,
                                                   sleepwear, headwear, hosiery,
                                                                 shoes
                                                 Class 42 – Retail store services in
                                                the field of women’s ready to wear
                                                                apparel
 74/516,578      IVY CREW         04/21/1994     Class 25 – Private label clothing,    12/10/2022 – Section 8 & 9 Renewal Due
  2,657,455                       12/10/2002     namely, men’s shorts, pants, knit
                                                   shirts and woven shirts sold in
                                                           stores owned by
                                                     applicant/registrant and its
                                                       successors and assigns
 85/908,948   JINGLE BELL LANE    04/19/2013            Class 8 – Nutcrackers              12/02/2020 – Section 8 & 15 Due
  4,649,865                       12/02/2014                                           12/02/2024 – Section 8 & 9 Renewal Due
 85/908,968   JINGLE BELL LANE    04/19/2013    Class 20 – Decorative pillows and          12/23/2020 – Section 8 & 15 Due
  4,660,341                       12/23/2014               picture frames                   12/23/2024 – Section 8 & 9 Due
 85/908,978   JINGLE BELL LANE    04/19/2013     Class 21 – Beverage glassware,            12/23/2020 – Section 8 & 15 Due
  4,660,342                       12/23/2014    dinnerware, vases, vessels, bowls,          12/23/2024 – Section 8 & 9 Due
                                                  plates, pots, decorative plates,
                                                napkin rings, collectible Santa and

                                                                                                                                       13
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SERIAL NO.         MARK          FILING DATE                  CLASS/                                 STATUS                     LIENS
 REG. NO.                         REG. DATE           GOODS & SERVICES
                                                 angel figures of glass, porcelain
                                               and crystal, candle holders, crystal,
                                                namely, dinnerware and beverage
                                                                ware
 85/909,011   JINGLE BELL LANE    04/19/2013    Class 28 – Decorative home décor          12/23/2020 – Section 8 & 15 Due
  4,660,343                       12/23/2014     and accessories featuring Santa,          12/23/2024 – Section 8 & 9 Due
                                                snowmen and reindeer; Christmas
                                                  tree ornaments; Christmas tree
                                                    skirts, Christmas stockings,
                                                Christmas tree toppers, Christmas
                                                     stocking holders, artificial
                                                Christmas trees, water globes and
                                               ornamental Christmas decorations,
                                                 namely, gingerbread houses and
                                                           nativity scenes
 85/898,103                       04/08/2013    Class 25 – Children’s apparel and          12/02/2020 – Section 8 & 15 Due
  4,649,853                       12/02/2014                 accessories               12/02/2024 – Section 8 & 9 Renewal Due
                                                  Class 36 – Retail store services
                                                 featuring children’s apparel and
                                                             accessories
 85/898,055                       04/08/2013    Class 25 – Children’s apparel and          12/02/2020 – Section 8 & 15 Due
  4,649,852                       12/02/2014                 accessories               12/02/2024 – Section 8 & 9 Renewal Due
                                                  Class 36 – Retail store services
                                                 featuring children’s apparel and
                                                             accessories
 85/886,404     MAX & MINI        03/26/2013    Class 25 – Children’s apparel and          12/02/2020 – Section 8 & 15 Due
  4,649,826                       12/02/2012                 accessories               12/02/2024 – Section 8 & 9 Renewal Due
 76/033,731      MOUNTAIN         04/18/2000       Class 25 – Clothing, namely,        04/16/2022 – Section 8 & 9 Renewal Due
  2,561,162        LAKE           04/16/2002        dresses, shirts, pants, vests,
                                               jumpers, and loungewear pants and
                                                                shirts
 75/744,174    PALAIS ROYAL       07/06/1999      Class 35 – Retail store services     11/25/2023 – Section 8 & 9 Renewal Due
  2,785,222                       11/25/2003        featuring men’s, women’s,
                                               children’s and infant’s clothing and
                                                accessories, head coverings, hats,
                                                   caps, scarves, shoes, jewelry,
                                                   hosiery, foundation garments,
                                               lingerie, watches, sunglasses, swim

                                                                                                                                   14
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SERIAL NO.         MARK          FILING DATE                 CLASS/                                 STATUS                     LIENS
 REG. NO.                         REG. DATE          GOODS & SERVICES
                                                wear, cosmetics, perfume, health
                                                 and beauty aids, leather goods,
                                                   wallets, handbags, candles,
                                                decorative accessories of crystal
                                               and glass, picture frames, and gift
                                                               items
 73/657,539       PEEBLES         04/27/1987      Class 42 – Department store         06/14/2028 – Section 8 & 9 Renewal Due
  1,492,322                       06/14/1988                  services
 74/073,162       PRIVATE         06/27/1990      Class 25 – Women’s lingerie,        05/04/2023 – Section 8 & 9 Renewal Due
  1,769,352     EXPRESSIONS       05/04/1993    namely sleepwear, slips, panties,
                                                 robes, loungewear, and hosiery
 75/882,619   REBECCA MALONE      12/28/1999      Class 25 – Women’s clothing         03/09/2024 – Section 8 & 9 Renewal Due
  2,821,443                       03/09/2004    apparel; namely, blouses, pants,
                                                shirts, sweaters, jackets and knit     Will be allowed to expire per Annette
                                                                tops                         Hollingsworth 4-9-2020
 86/107,186     RUSTIC BLUE       10/31/2013   Class 25 – Young men’s and boys’          05/19/2021 – Section 8 & 15 Due
  4,739,968                       05/19/2015   clothing and accessories, namely,      5/29/2025 – Section 8 & 9 Renewal Due
                                                    knit tops, woven tops, knit
                                                bottoms, woven bottoms, denim
                                                   tops, denim bottoms, coats,
                                                     jackets, socks, sweaters,
                                               underwear, swimwear, belts, hats,
                                                             and shoes
 74/391,027   SIGNATURE STUDIO    05/17/1993            Class 14 – Jewelry            6/17/2027 – Section 8 & 9 Renewal Due
  2,072,046                       06/17/1997
 78/607,544   SIGNATURE STUDIO    04/13/2005   Class 25 – Clothing, namely, tops,     08/14/2027 – Section 8 & 9 Renewal Due
  3,280,578                        08/14/07    bottoms, dresses, skirts, sweaters,
                                                coats, capes, head wear, gloves,
                                                hosiery, sleepwear and lingerie
 86/478,789   SIGNATURE STUDIO    12/12/2014          Class 18 – Handbags                 10/20/2021 – Section 8 & 15 Due
  4,838,271                       10/20/2015                                          10/20/2025 – Section 8 & 9 Renewal Due
 78/150,793      SOMETHING        08/05/2002   Class 35 – Retail department store     06/03/2023 – Section 8 & 9 Renewal Due    **
  2,721,561     UNEXPECTED        06/03/2003                 services
 87/223,020    SPOT ON VALUE      11/01/2016   Class 35 – Retail store services and      12/26/2023 – Section 8 & 15 Due
  5,362,648                       12/26/2017    on-line retail store services, both
                                                featuring value-priced clothing,
                                                   fashion accessories, shoes,
                                                  handbags, jewelry, watches,

                                                                                                                                     15
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SERIAL NO.       MARK        FILING DATE                 CLASS/                                   STATUS                     LIENS
 REG. NO.                     REG. DATE         GOODS & SERVICES
                                               housewares, cosmetics and
                                                        fragrances
 73/660,706      STAGE         05/14/1987   Class 42 - Retail store services in     02/21/2029 - Section 8 & 9 Renewal Due     *
  1,525,762                    02/21/1989    the field of clothing, shoes and
                                                        accessories
 86/645,978                    05/29/2015   Class 35 – Retail department store         10/25/2022 – Section 8 & 15 Due
  5,069,575                    10/25/2016       services and on-line retail
                                                department store services



 86/646,005                    05/29/2015    Class 35 – Retail department store        02/14/2023 – Section 8 & 15 Due
  5,142,482                    11/14/2017        services and on-line retail
                                                  department store services
 86/402,441   STYLE CIRCLE     09/22/2014    Class 35 – Retail store services in       11/14/2023 – Section 8 & 15 Due
  5,335,731                    11/14/2017   the field of clothing, shoes, fashion
                                                  accessories and clothing
                                              accessories; administration of a
                                             program for enabling participants
                                              to obtain discounts on products;
                                              membership club services in the
                                              nature of providing discounts to
                                             members in the field of clothing,
                                               shoes and fashion accessories;
                                               customer loyalty program for
                                              commercial promotional and/or
                                                    advertising purposes
 86/402,395   STYLE CIRCLE     09/22/2014    Class 35 – Retail store services in        11/24/2021 – Section 8 & 15 Due
  4,860,808     REWARDS        11/24/2015   the field of clothing, shoes, fashion   11/24/2025 – Section 8 & 9 Renewal Due
                                                  accessories and clothing
                                              accessories; administration of a
                                             program for enabling participants
                                              to obtain discounts on products;
                                              membership club services in the
                                              nature of providing discounts to
                                             members in the field of clothing,
                                               shoes and fashion accessories;
                                               customer loyalty program for

                                                                                                                                   16
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 SERIAL NO.              MARK               FILING DATE                   CLASS/                                   STATUS                     LIENS
  REG. NO.                                   REG. DATE            GOODS & SERVICES
                                                               commercial promotional and/or
                                                                    advertising purposes
   75/976,054        SUN RIVER                01/04/1996        Class 25 – Clothing for adults       07/15/2027 - Section 8 & 9 Renewal Due     *
    2,080,349       CLOTHING CO.              07/15/1997        namely, tops, bottoms, jeans,
                                                                sweatshirts, slacks and shorts
   85/374,698     VALERIE STEVENS             07/19/2011        Class 25 – Women’s clothing,         07/17/2022 – Section 8 & 9 Renewal Due
    4,177,006                                 07/17/2012      namely, blouses, knit tops, jackets,
                                                                 pants, Capri pants, dresses,
                                                                       sweaters, skirts
   86/484,874     VALERIE STEVENS             12/18/2014            Class 18 – Handbags                  10/20/2021 – Section 8 & 15 Due
    4,838,287                                 10/20/2015                                             10/20/2025 – Section 8 & 9 Renewal Due
   77/868,649       WISHFUL PARK              11/09/2009        Class 25 – Clothing, namely,         12/07/2020 – Section 8 & 9 Renewal Due
    3,887,766                                 12/07/2010       shorts, tops, jackets, sweaters,
                                                                       jeans and pants
   85/155,755       WISHFUL PARK              10/19/2010         Class 14- Costume jewelry,              11/29/2021 – Section 8 & 9 Due
    4,062,356                                 11/29/2011        namely, necklaces, bracelets,
                                                                      earrings and rings
   76/217,340         Y.E.S. YOUR             02/27/2001       Class 35 – Retail clothing store      12/04/2021 – Section 8 & 9 Renewal Due
    2,515,145         EVERYDAY                12/04/2001                   services
                       SAVINGS

All marks listed above are subject to a security interest recorded at the USPTO in favor of Wells Fargo Bank, NA dated August 3, 2018 (for which
no release has been recorded).

* indicates marks also subject to a security interest recorded at the USPTO in favor of Citicorp USA, Inc. dated June 2, 2000 (for which no release
has been recorded).

** indicates marks subject to a security interest recorded at the USPTO in favor of Wells Fargo Retail Finance, LLC. dated February 20, 2009 (for
which no release has been recorded).




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                                Schedule 3.12

                                  Brokers

    A&G Real Estate Partners

    PJ Solomon




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                               Schedule 4.3(a)

                             Purchaser Conflicts

None.




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                               Schedule 4.3(b)

                             Purchaser Consents

None.




                                                                           20
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                                     Schedule 4.5

                                       Brokers

    Hilco IP Services, LLC dba Hilco Streambank




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                                        Schedule 6.1

                              Conduct of Business of Sellers



    Sellers may revise website landing pages and other social media accounts to reflect the
     store closures.

    Seller will not be required to defend the outstanding challenges filed by Purchaser to the
     BEALLS trademark.




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                             Schedule 11.1(p)

                             Domain Names



Domain Name                         Expiration Date   Registrar
goodysonline.xxx                      12/10/2020      GoDaddy
palaisroyalonline.xxx                 12/10/2020      GoDaddy
peeblesonline.xxx                     12/10/2020      GoDaddy
stageonline.xxx                       12/10/2020      GoDaddy
stagestores.xxx                       12/10/2020      GoDaddy
ssiemail.net                           1/25/2021      Network Solutions
beallsmail.com                         1/26/2021      Network Solutions
palaisroyalmail.com                    1/26/2021      Network Solutions
peeblesmail.com                        1/26/2021      Network Solutions
stagestoresmail.com                    1/26/2021      Network Solutions
beallstxmail.com                       1/29/2021      Network Solutions
stagestoresincmail.com                 1/29/2021      Network Solutions
newstoreintownforyou.com                2/2/2021      Network Solutions
STYLECIRCLE.COM                        2/12/2021      GoDaddy
goodysonline.com                       2/16/2021      Network Solutions
gordmans.online                        3/10/2021      Network Solutions
PALAISROYAL.BIZ                        3/14/2021      GoDaddy
BEALLSTX.NET                           3/15/2021      GoDaddy
STAGESTORES.ORG                        3/15/2021      GoDaddy
gordmans.info                           4/8/2021      Network Solutions
wishfulpark.info                        4/8/2021      Network Solutions
beallsonline.com                       4/12/2021      Network Solutions
promo‐gordmans.com                      5/1/2021      GoDaddy
peeblesuat.com                         5/11/2021      Network Solutions
stageqa.com                            5/11/2021      Network Solutions
stage.com                               6/3/2021      Network Solutions
RSSTAGESTORES.COM                       6/5/2021      GoDaddy
BEALLSDEPTSTORES.COM                    6/7/2021      GoDaddy
BEALLSGIFTCARDS.COM                     6/7/2021      GoDaddy
BEALLSONLINESTORE.COM                   6/7/2021      GoDaddy
BEALLSONLINESTORES.COM                  6/7/2021      GoDaddy
GOODYSDEPTSTORES.COM                    6/7/2021      GoDaddy
GOODYSGIFTCARDS.COM                     6/7/2021      GoDaddy
GOODYSONLINESTORE.COM                   6/7/2021      GoDaddy
GOODYSONLINESTORES.COM                  6/7/2021      GoDaddy
PALAISROYALDEPTSTORES.COM               6/7/2021      GoDaddy


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PALAISROYALONLINESTORE.COM             6/7/2021   GoDaddy
PALAISROYALONLINESTORES.COM            6/7/2021   GoDaddy
PEEBLESDEPTSTORES.COM                  6/7/2021   GoDaddy
PEEBLESONLINESTORE.COM                 6/7/2021   GoDaddy
PEEBLESONLINESTORES.COM                6/7/2021   GoDaddy
SHOPBEALLSDEPARTMENTSTORES.COM         6/7/2021   GoDaddy
SHOPBEALLSDEPTSTORES.COM               6/7/2021   GoDaddy
SHOPBEALLSSTORES.COM                   6/7/2021   GoDaddy
SHOPGOODYSDEPARTMENTSTORES.COM         6/7/2021   GoDaddy
SHOPGOODYSDEPTSTORES.COM               6/7/2021   GoDaddy
SHOPGOODYSSTORES.COM                   6/7/2021   GoDaddy
SHOPPALAISROYALDEPARTMENTSTORES.COM    6/7/2021   GoDaddy
SHOPPALAISROYALDEPTSTORES.COM          6/7/2021   GoDaddy
SHOPPALAISROYALSTORES.COM              6/7/2021   GoDaddy
SHOPPEEBLESDEPARTMENTSTORES.COM        6/7/2021   GoDaddy
SHOPPEEBLESDEPTSTORES.COM              6/7/2021   GoDaddy
SHOPPEEBLESSTORES.COM                  6/7/2021   GoDaddy
SHOPSTAGEDEPARTMENTSTORES.COM          6/7/2021   GoDaddy
SHOPSTAGEDEPTSTORES.COM                6/7/2021   GoDaddy
SHOPSTAGESTORES.COM                    6/7/2021   GoDaddy
STAGEDEPTSTORES.COM                    6/7/2021   GoDaddy
STAGEGIFTCARDS.COM                     6/7/2021   GoDaddy
STAGEONLINESTORE.COM                   6/7/2021   GoDaddy
STAGEONLINESTORES.COM                  6/7/2021   GoDaddy
STEELESDEALS.COM                      6/17/2021   GoDaddy
STEELESDEALS.NET                      6/17/2021   GoDaddy
STEELESDEALS.ORG                      6/17/2021   GoDaddy
stagestoresinc.com                    6/22/2021   Network Solutions
JRSTEELES.COM                         6/24/2021   GoDaddy
KJSTEELES.COM                         6/24/2021   GoDaddy
goodysmail.com                        7/13/2021   Network Solutions
STAGEORDERSTATUS.COM                  7/16/2021   GoDaddy
E‐BEALLSONLINE.COM                    7/27/2021   GoDaddy
E‐GOODYSONLINE.COM                    7/27/2021   GoDaddy
E‐PALAISROYAL.COM                     7/27/2021   GoDaddy
E‐PEEBLES.COM                         7/27/2021   GoDaddy
E‐STAGESTORES.COM                     7/27/2021   GoDaddy
STEELESSTORES.COM                     7/27/2021   GoDaddy
STEELESONLINE.COM                     8/17/2021   GoDaddy
SHOPBEALLSTX.COM                      8/22/2021   GoDaddy
SHOPBEALLSTX.NET                      8/22/2021   GoDaddy
SHOPPALAISROYAL.COM                   8/22/2021   GoDaddy
SHOPPALAISROYAL.NET                   8/22/2021   GoDaddy

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SHOPPEEBLES.NET                      8/22/2021    GoDaddy
BEALLSTX.BIZ                         8/26/2021    GoDaddy
GOODYSONLINE.BIZ                     8/26/2021    GoDaddy
GOODYSONLINE.US                      8/26/2021    GoDaddy
SHOPGOODYS.BIZ                       8/26/2021    GoDaddy
SHOPGOODYS.US                        8/26/2021    GoDaddy
SHOPPEEBLES.BIZ                      8/26/2021    GoDaddy
SHOPPEEBLES.US                       8/26/2021    GoDaddy
SHOPSTAGE.BIZ                        8/26/2021    GoDaddy
SHOPSTAGE.US                         8/26/2021    GoDaddy
STAGESTORES.BIZ                      8/26/2021    GoDaddy
STAGESTORESINC.BIZ                   8/26/2021    GoDaddy
STAGESTORESINC.US                    8/26/2021    GoDaddy
STAGESTORESINCMAIL.BIZ               8/26/2021    GoDaddy
STAGESTORESINCMAIL.US                8/26/2021    GoDaddy
STAGESTORESMAIL.BIZ                  8/26/2021    GoDaddy
STAGESTORESMAIL.US                   8/26/2021    GoDaddy
BEALLSTX.ORG                         8/27/2021    GoDaddy
GOODYSONLINE.NET                     8/27/2021    GoDaddy
SHOPGOODYS.NET                       8/27/2021    GoDaddy
SHOPGOODYS.ORG                       8/27/2021    GoDaddy
SHOPPEEBLES.ORG                      8/27/2021    GoDaddy
SHOPSTAGE.ORG                        8/27/2021    GoDaddy
STAGESTORES.NET                      8/27/2021    GoDaddy
STAGESTORESINC.NET                   8/27/2021    GoDaddy
STAGESTORESINC.ORG                   8/27/2021    GoDaddy
STAGESTORESINCMAIL.NET               8/27/2021    GoDaddy
STAGESTORESINCMAIL.ORG               8/27/2021    GoDaddy
STAGESTORESMAIL.NET                  8/27/2021    GoDaddy
STAGESTORESMAIL.ORG                  8/27/2021    GoDaddy
promo‐stagestores.com                8/29/2021    GoDaddy
stagestoresads.com                    9/2/2021    Network Solutions
STYLECIRCLECOMMUNITY.COM              9/5/2021    GoDaddy
gordmans.org                         9/10/2021    Network Solutions
palaisroyal.com                      9/18/2021    Network Solutions
last‐dash.com                        10/19/2021   GoDaddy
BEALLSTXGIFTCARDS.COM                10/19/2021   GoDaddy
GOODYSONLINEGIFTCARDS.COM            10/19/2021   GoDaddy
PALAISROYALGIFTCARDS.COM             10/19/2021   GoDaddy
PEEBLESGIFTCARDS.COM                 10/19/2021   GoDaddy
STAGESTORESGIFTCARDS.COM             10/19/2021   GoDaddy
beallstx.com                         10/23/2021   Network Solutions
bcmoores.com                         10/25/2021   Network Solutions

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PREMIERREWARDSDETAILS.COM            10/26/2021   GoDaddy
PREMIERREWARDSDETAILS.NET            10/26/2021   GoDaddy
stagestores.com                      11/10/2021   Network Solutions
gordmans.com                         11/18/2021   Network Solutions
gordmans.biz                         11/30/2021   Network Solutions
gordmans.xxx                         12/1/2021    Network Solutions
wishfulpark.biz                      12/14/2021   Network Solutions
wishfulpark.cc                       12/14/2021   Network Solutions
wishfulpark.com                      12/14/2021   Network Solutions
wishfulpark.net                      12/14/2021   Network Solutions
wishfulpark.org                      12/14/2021   Network Solutions
peebles.com                          12/15/2021   Network Solutions
onstagedeal.com                       4/5/2022    Network Solutions
palaisroyalonline.com                5/10/2022    Network Solutions
stagestoresonline.com                5/10/2022    Network Solutions
peeblesonline.com                    6/19/2022    Network Solutions
BEALLSFEEDBACK.COM                   7/28/2022    GoDaddy
GOODYSFEEDBACK.COM                   7/28/2022    GoDaddy
PALAISROYALFEEDBACK.COM              7/28/2022    GoDaddy
PEEBLESFEEDBACK.COM                  7/28/2022    GoDaddy
STAGEFEEDBACK.COM                    7/28/2022    GoDaddy
STYLECIRCLEREWARDS.COM               7/28/2022    GoDaddy
offstagestore.com                    10/4/2022    GoDaddy
offstagestores.com                   10/4/2022    GoDaddy
VOICESSURVEY.COM                     7/29/2025    GoDaddy




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                              Schedule 11.1(mm)

                            Social Media Accounts


Facebook
Beallstx
Goodys
Gordmans
PalaisRoyal
Peebles
Stagestores

Instagram
@Gordmans
@shopbealls
@shopgoodys
@shoppalaisroyal
@shoppeebles
@Stage

Pinterest
BeallsTX
GoodysStores
gordmans
PeeblesStores
ShopPalaisRoyal
Stagestores

Twitter
@godmans
@ShopBealls
@ShopGoodys
@ShopPalaisRoayl
@ShopPeebles
@ShopeStageStores

Youtube
BeallsTX
Goodysonline
godmansstores
PalaisRoyalStores
PeeblesStores
StageStores




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